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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


U.S. SECURITIES AND EXCHANGE                         )
COMMISSION,                                          )

                               Plaintiff,            )        Civil Action No.

                       v.                            )        18-CV-5587

EQUITYBUILD,INC.,EQUITYSUILD                         )        Hon. John Z. Lee
FINANCE,LLC,JEROME H. COHEN,and                      )
SHAUN D. COHEN,                                      )

                               Defendants.           )


       DECLARATION OF ANN TUSHAUS REGARDING DISGORGEMENT
     AND PREJUDGMENT INTEREST AGAINST JEROME AND SHAUN COHEN

       1.      I, Ann M. Tushaus, am a Staff Accountant in the Chicago Regional Office of

the Securities and Exchange Commission (the "SEC"), located at 175 West Jackson

Boulevard, Suite 1450, Chicago, Illinois, 60604. I have worked as a Staff Accountant at the

SEC since July 2007.

       2.       I received a B.A. degree in Accounting from Illinois Wesleyan University and

have been a Certified Public Accountant since October 2004. Prior to working at the SEC, I

was an auditor in the private sector.

       3.      My duties with the SEC include participating in fact-finding inquiries and

investigations to determine whether the federal securities laws have been, are presently, or are

about to be violated, and assisting in the SEC's litigation of securities laws violations. As part of

my job, I routinely obtain and analyze bank records and other financial records typically

maintained at financial institutions.
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       4.     In connection with the above-captioned lawsuit, I have been asked to review and

summarize certain bank records and financial transactions. Specifically, I have reviewed:

              a. bank records of Equitybuild, Inc.("Equitybuild") which records included, but

                  were not limited to: account opening documents, bank signatory forms,

                  canceled checks, monthly statements, deposits, debit and credit memoranda,

                  and wire transfer advices;

              b. bank records of Equitybuild Finance, LLC ("Equitybuild Finance") which

                  records included, but were not limited to: account opening documents, bank

                  signatory forms, canceled checks, monthly statements, deposits, debit and

                  credit memoranda, and wire transfer advices;

              c. bank records of Jerome Cohen and Shaun Cohen which records included, but

                  were not limited to: account opening documents, bank signatory forms,

                  canceled checks, monthly statements, deposits, debit and credit memoranda,

                  and wire transfer advices; and

                  d. bank records of affiliate entities of Equitybuild, Equitybuild Finance,

                  Jerome Cohen, and/or Shaun Cohen which records included, but were not

                  limited to: account opening documents, bank signatory forms, canceled

                  checks, monthly statements, deposits, debit and credit memoranda, and wire

                  transfer advices;

       5.      Exhibit 1 is a schedule I prepared that summarizes payments from Equitybuild

and Equitybuild Finance to Shaun Cohen and 3400 Newkirk, LLC ("3400 Newkirk") from

August 15, 2013 through August 15, 2018. These payments are reflected in bank records I

reviewed. 3400 Newkirk is an entity that is owned and controlled by Shaun Cohen, and



                                               2
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Shaun Cohen used 3400 Newkirk's bank account to make payments for personal

expenditures. From August 15, 2013 through August 15, 2018, Shaun Cohen and 3400

Newkirk received $1,692,487 in compensation and payments from Equitybuild and

Equitybuild Finance.

       6.     Exhibit 2 is a schedule I prepared showing a prejudgment interest calculation

for Shaun Cohen's disgorgement figure. I calculated the prejudgment interest applying the

interest rate, adjusted quarterly, used by the IRS for computation of interest on the

underpayment of taxes. Interest was compounded quarterly beginning October 1, 2013. In

my experience, this is the way courts typically calculate prejudgment interest in SEC

enforcement actions. Using this methodology, the prejudgment interest on disgorgement on

$1,692,487 is $148,564.

       7.     Exhibit 3 is a schedule I prepared that summarizes payments from Equitybuild,

and Equitybuild Finance to Jerome Cohen and Tikkun Holdings LLC ("Tikkun") from August

15, 2013 through August 15, 2018. These payments are reflected in bank records I reviewed.

Tikkun is an entity that is owned and controlled by Jerome Cohen, and Jerome Cohen used

Tikkun's bank account to make payments for personal expenditures. From August 15, 2013

through August 15, 2018, Jerome Cohen and Tikkun received $1,496,705 in compensation,

payments, and expenditures paid on his behalf from Equitybuild and Equitybuild Finance.

These include direct payments to Jerome Cohen's and Tikkun's bank accounts, as well as the

down payment on his personal residence.

       8.     Exhibit 4 is a schedule I prepared showing a prejudgment interest calculation

for Jerome Cohen's disgorgement figure. I calculated the prejudgment interest applying the

interest rate, adjusted quarterly, used by the IRS for computation of interest on the



                                              3
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underpayment of taxes. Interest was compounded quarterly beginning October 1, 2013.

Using this methodology, the prejudgment interest on disgorgement on $1,496,705 is

$193,983.



       I, Ann M. Tushaus, declare under penalty of perjury, in accordance with 28 U.S.C. §

1746, that the foregoing is true and correct. Executed on the 17th day of December 2018.




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                                                           Ann M. Tushaus
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                  PAYMENTS FROM  PAYMENTS TO SHAUN 
                SHAUN COHEN AND                    COHEN AND 3400 
  DATE              3400 NEWKIRK                          NEWKIRK                               BALANCE                    PAYEE                     PAYOR                   NOTES
8/16/2013                                                           100,000.00                     (100,000.00)    3400 NEWKIRK          EQUITYBUILD           LOAN
8/16/2013                                                             10,000.00                    (110,000.00)    3400  NEWKIRK         EQUITYBUILD FINANCE   INTEREST COMMISSION
8/19/2013                             3,000.00                                                     (107,000.00)    EQUITYBUILD FINANCE   3400 NEWKIRK LLC      LOAN
8/21/2013                                                               1,425.00                   (108,425.00)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
8/26/2013                           19,700.00                                                        (88,725.00)   EQUITYBUILD FINANCE   3400 NEWKIRK LLC      LOAN
8/26/2013                                                             19,841.00                    (108,566.00)    3400 NEWKIRK LLC      EQUITYBUILD FINANCE   REPAYMENT OF LOAN
8/28/2013                                                               1,425.00                   (109,991.00)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
9/4/2013                                                              41,504.30                    (151,495.30)    3400 NEWKIRK          EQUITYBUILD FINANCE   REFUND OF MISSING WIRE
9/4/2013                                                                1,425.00                   (152,920.30)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               DEPOSITED CHECKS WRONG 
 9/4/2013                           41,504.30                                                      (111,416.00)    EQUITYBUILD FINANCE   3400 NEWKIRK          ACCOUNT
 9/5/2013                                                                   1,747.81               (113,163.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
9/11/2013                                                                   1,425.00               (114,588.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
9/18/2013                                                                   1,425.00               (116,013.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
9/24/2013                                                                   8,000.00               (124,013.81)    3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
9/25/2013                                                                   1,425.00               (125,438.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
10/2/2013                                                                   1,425.00               (126,863.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
10/9/2013                                                                   1,425.00               (128,288.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
10/16/2013                                                                  1,425.00               (129,713.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
10/23/2013                                                                  1,425.00               (131,138.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               LOAN FOR 4511 N MERRIMAC 
10/24/2013                          51,000.00                                                        (80,138.81)   EQUITYBUILD FINANCE   3400 NEWKIRK          CLOSING
10/25/2013                                                                51,000.00                (131,138.81)    3400 NEWKIRK          EQUITYBUILD FINANCE   RETURN OF LOAN FOR MERRIMAC
10/30/2013                                                                  1,425.00               (132,563.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
11/6/2013                                                                   1,425.00               (133,988.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
11/13/2013                                                                  1,425.00               (135,413.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               INTEREST INCOME NOVEMBER 
11/21/2013                                                                  6,000.00               (141,413.81)    3400 NEWKIRK          EQUITYBUILD FINANCE   PARTIAL
11/27/2013                                                                  9,325.00               (150,738.81)    3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING INCOME 7701 S ESSEX
12/19/2013                                                                  9,500.00               (160,238.81)    3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
12/24/2013                                                                  2,850.00               (163,088.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
12/30/2013                                                                  4,275.00               (167,363.81)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               PARTIAL REIMBURSEMENT FOR 
12/31/2013                                                                  1,180.00            (168,543.81) 3400 NEWKIRK                EQUITYBUILD FINANCE   CHABAD DONATION
12/31/2013                                                                  2,921.67            (171,465.48) 3400 NEWKIRK                EQUITYBUILD FINANCE   REIMBURSEMENT FOR COMPUTER
12/31/2013                                                                  2,850.00            (174,315.48) 3400 NEWKIRK                EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               LOAN FOR PURCHASE OF 4109 
 1/2/2014                                  60.00                                                   (174,255.48) EQUITYBUILD FINANCE      3400 NEWKIRK          KIMBALL
                                                                                                                                                               LOAN FOR PURCHASE OF 4109 
 1/6/2014                                200.00                                                    (174,055.48) 3400 NEWKIRK             EQUITYBUILD FINANCE   KIMBALL
 1/6/2014                                                                         60.00            (174,115.48) 3400 NEWKIRK             EQUITYBUILD FINANCE   REPAYMENT OF LOAN
                                                                                                                                                               JAN INTEREST PAYMENT 7200 STONY 
 1/7/2014                                                                 25,517.28            (199,632.76) 3400 NEWKIRK                 EQUITYBUILD FINANCE   ISLAND
 1/8/2014                                                                   2,850.00            (202,482.76) 3400 NEWKIRK                EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               JAN INTEREST PAYMENT 7200 STONY 
1/8/2014                            25,517.28                                                      (176,965.48)    EQUITYBUILD FINANCE   3400 NEWKIRK          ISLAND
1/15/2014                                  59.29                                                   (176,906.19)    3400 NEWKIRK          EQUITYBUILD FINANCE   REIMBURSE FOR HOUSTON TRIP
1/15/2014                                                                   2,850.00               (179,756.19)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
1/22/2014                                                                   1,425.00               (181,181.19)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
1/29/2014                                                                   1,425.00               (182,606.19)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
2/5/2014                                                                    1,425.00               (184,031.19)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
2/6/2014                                                                       200.00              (184,231.19)    3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE
2/10/2014                                                                   2,977.39               (187,208.58)    3400 NEWKIRK          EQUITYBUILD           EUROPE TRIP
2/10/2014                           25,517.28                                                      (161,691.30)    EQUITYBUILD FINANCE   3400 NEWKIRK          LOAN FOR FEB STONY ISLAND
2/12/2014                                                                   1,425.00               (163,116.30)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
2/18/2014                                                                   4,369.20               (167,485.50)    3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING INCOME 1422 E 68TH
2/19/2014                                                                   1,425.00               (168,910.50)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
                                                                                                                                                               REIMBURSE STONY ISLAND INTEREST 
2/25/2014                                                                 25,517.28                (194,427.78)    3400 NEWKIRK          EQUITYBUILD FINANCE   LOAN
2/25/2014                                                                   5,002.60               (199,430.38)    3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE 7823 ESSEX
2/26/2014                                                                   1,425.00               (200,855.38)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
2/27/2014                                                                 12,000.00                (212,855.38)    3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
3/5/2014                                                                    1,425.00               (214,280.38)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
3/12/2014                                                                   1,425.00               (215,705.38)    3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
3/17/2014                                                                 11,375.00                (227,080.38)    3400 NEWKIRK          EQUITYBUILD FINANCE   MLK CONSULTING FEE
                                                                                                                                                               OWED KUDOS MONEY FOR BIZ 
3/17/2014                           24,980.00                                                      (202,100.38) EQUITYBUILD              3400 NEWKIRK          GUTTING
                                                                                                                                                               REIMBURSE DRINKS WITH FRANK 
3/17/2014                                                                         84.17            (202,184.55) 3400 NEWKIRK             EQUITYBUILD           MONTRO
3/19/2014                                                                   1,425.00            (203,609.55) 3400 NEWKIRK                EQUITYBUILD           CONSULTING FEE
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                  PAYMENTS FROM  PAYMENTS TO SHAUN 
                SHAUN COHEN AND                    COHEN AND 3400 
  DATE              3400 NEWKIRK                          NEWKIRK                             BALANCE                   PAYEE                   PAYOR                  NOTES
3/20/2014                                                                  300.00                (203,909.55)   3400 NEWKIRK        EQUITYBUILD FINANCE   INSURANCE REIMBURSE
3/20/2014                                                               7,500.00                 (211,409.55)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE
3/26/2014                                                               1,425.00                 (212,834.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
4/2/2014                                                                1,425.00                 (214,259.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
4/9/2014                                                                1,425.00                 (215,684.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
4/16/2014                                                               1,425.00                 (217,109.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
4/23/2014                                                               1,425.00                 (218,534.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
4/24/2014                                                               6,000.00                 (224,534.55)   3400 NEWKIRK        EQUITYBUILD FINANCE   INTEREST INCOME
4/30/2014                                                               1,425.00                 (225,959.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
5/7/2014                                                                1,425.00                 (227,384.55)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
5/12/2014                                                                  150.00                (227,534.55)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSE
5/12/2014                                                             10,937.00                  (238,471.55)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE ON 6201 LANGLEY
5/12/2014                             3,500.00                                                   (234,971.55)   EQUITYBUILD         3400 NEWKIRK          TIKKUN OVERHEAD

5/13/2014                                                                    250.00
                                                                                            (235,221.55)        3400 NEWKIRK        EQUITYBUILD           PLANO DONATION REIMBURSEMENT
5/14/2014                                                                 1,425.00
                                                                                            (236,646.55)        3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
5/21/2014                                                                 1,425.00
                                                                                            (238,071.55)        3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
5/22/2014                                                                 1,000.00
                                                                                            (239,071.55)        3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
5/22/2014                                                                 9,000.00
                                                                                            (248,071.55)        3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE
5/23/2014                             7,833.33                                              (240,238.22)        EQUITYBUILD         3400 NEWKIRK          MONTHLY RA EXPENSES
5/28/2014                                                               2,425.00            (242,663.22)        3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
                                                                                                                                                          ADVANCE TO NICKALL ON GREEN 
 6/2/2014                             9,000.00                                                   (233,663.22) EQUITYBUILD FINANCE   3400 NEWKIRK          CLOSING
                                                                                                                                                          TO TIKKUN FOR NEW BIZ OVERHEAD 
6/3/2014                              6,000.00                                                (227,663.22) EQUITYBUILD              3400 NEWKIRK          JUNE
6/4/2014                                                                  2,425.00            (230,088.22) 3400 NEWKIRK             EQUITYBUILD           CONSULTING FEE
6/11/2014                                                                 2,425.00            (232,513.22) 3400 NEWKIRK             EQUITYBUILD           CONSULTING FEE
                                                                                                                                                          CAR INSURANCE REIMBURSEMENT 2 
6/13/2014                                                                    400.00              (232,913.22)   3400 NEWKIRK        EQUITYBUILD FINANCE   MONTHS
6/18/2014                                                                 2,425.00               (235,338.22)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
6/25/2014                                                                 2,425.00               (237,763.22)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
7/1/2014                                                                12,862.50                (250,625.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE 7635 S COLES
7/1/2014                                                                  2,425.00               (253,050.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
7/9/2014                                                                  2,425.00               (255,475.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
7/10/2014                                                                    200.00              (255,675.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
7/16/2014                                                                 2,425.00               (258,100.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE

7/16/2014                                                                 6,500.00               (264,600.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE FOR JULY INTEREST
7/21/2014                                                                    200.00              (264,800.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
7/23/2014                                                                 2,425.00               (267,225.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
7/30/2014                                                                 2,425.00               (269,650.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
8/6/2014                                                                  2,425.00               (272,075.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
8/13/2014                                                                 2,425.00               (274,500.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
8/20/2014                                                                 2,425.00               (276,925.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
8/20/2014                                                                 2,000.00               (278,925.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE
8/21/2014                                                                    200.00              (279,125.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
8/27/2014                                                                 2,425.00               (281,550.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
9/3/2014                                                                  2,425.00               (283,975.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
9/10/2014                                                                 2,425.00               (286,400.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
                                                                                                                                                          RETURN OF HALF TIKKUN LOAN TO 
9/15/2014                           50,000.00                                                    (236,400.72) EQUITYBUILD           3400 NEWKIRK          NEWKIRK
                                                                                                                                                          INSURANCE REIMBURSEMENT JULY 
9/16/2014                                                                    400.00              (236,800.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   AND SEPT
9/17/2014                                                                 2,425.00               (239,225.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
9/19/2014                                                                 2,000.00               (241,225.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE
9/22/2014                                                                    200.00              (241,425.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
9/24/2014                                                                 2,425.00               (243,850.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
10/1/2014                                                                 2,425.00               (246,275.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
10/8/2014                                                                 2,425.00               (248,700.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
10/15/2014                                                                2,425.00               (251,125.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
10/21/2014                                                                   200.00              (251,325.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
10/22/2014                                                              21,950.00                (273,275.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE 8209 ELLIS
10/22/2014                                                                2,425.00               (275,700.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE

10/23/2014                                                                4,500.00               (280,200.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CONSULTING FEE INTEREST INCOME
10/29/2014                                                                2,425.00               (282,625.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
11/5/2014                                                                 2,425.00               (285,050.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
11/12/2014                                                                2,425.00               (287,475.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
11/19/2014                                                                2,425.00               (289,900.72)   3400 NEWKIRK        EQUITYBUILD           CONSULTING FEE
11/21/2014                                                                   200.00              (290,100.72)   3400 NEWKIRK        EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
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                PAYMENTS FROM  PAYMENTS TO SHAUN 
               SHAUN COHEN AND      COHEN AND 3400 
   DATE          3400 NEWKIRK              NEWKIRK                        BALANCE                 PAYEE                                            PAYOR                NOTES
11/25/2014                                               2,425.00            (292,525.72) 3400 NEWKIRK                               EQUITYBUILD           CONSULTING FEE

11/26/2014                                                             13,000.00                (305,525.72)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE INTEREST INCOME
12/3/2014                                                                2,425.00               (307,950.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
12/9/2014                                                              11,564.00                (319,514.72)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE 7656 KINGSTON
12/10/2014                                                               2,425.00               (321,939.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
12/17/2014                                                               2,425.00               (324,364.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
12/22/2014                                                                  200.00              (324,564.72)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
12/23/2014                                                               2,425.00               (326,989.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
12/30/2014                                                               2,425.00               (329,414.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 1/2/2015                                                                1,385.25               (330,799.97)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
 1/7/2015                                                                2,425.00               (333,224.97)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
1/14/2015                                                                2,425.00               (335,649.97)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
1/21/2015                                                                   200.00              (335,849.97)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
1/21/2015                                                                2,425.00               (338,274.97)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
1/23/2015                                                                2,000.00               (340,274.97)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
1/28/2015                                                                2,425.00               (342,699.97)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 2/4/2015                                                                2,425.00               (345,124.97)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 2/5/2015                                                                1,385.25               (346,510.22)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
2/11/2015                                                                2,425.00               (348,935.22)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
2/18/2015                                                                2,425.00               (351,360.22)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
2/19/2015                                                                4,500.00               (355,860.22)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
2/23/2015                                                                   200.00              (356,060.22)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
2/25/2015                                                                2,425.00               (358,485.22)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 3/4/2015                                                                2,425.00               (360,910.22)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 3/4/2015                                                                1,385.25               (362,295.47)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
3/11/2015                                                                2,675.00               (364,970.47)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
3/16/2015                                                                3,375.00               (368,345.47)   3400 NEWKIRK          EQUITYBUILD           LOAN
3/18/2015                                                                2,675.00               (371,020.47)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
3/23/2015                                                                   200.00              (371,220.47)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
3/25/2015                                                                2,675.00               (373,895.47)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 4/1/2015                                                                2,675.00               (376,570.47)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 4/1/2015                                                                5,000.00               (381,570.47)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
 4/6/2015                                                                1,385.25               (382,955.72)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
 4/8/2015                                                                2,675.00               (385,630.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
4/16/2015                                                                2,675.00               (388,305.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
4/17/2015                                                                3,375.00               (391,680.72)   3400 NEWKIRK          EQUITYBUILD           LOAN PAYMENT
4/21/2015                                                                   200.00              (391,880.72)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
4/22/2015                                                                2,675.00               (394,555.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
4/24/2015                                                                   277.00              (394,832.72)   3400 NEWKIRK          EQUITYBUILD           GIFT REIMBURSED BY JERRY
4/29/2015                                                                2,675.00               (397,507.72)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 5/5/2015                                                                1,385.25               (398,892.97)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
 5/5/2015                                                                1,800.00               (400,692.97)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
 5/6/2015                                                                2,675.00               (403,367.97)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
5/12/2015                                                                3,541.67               (406,909.64)   3400 NEWKIRK          EQUITYBUILD
5/13/2015                                                                2,675.00               (409,584.64)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
5/15/2015                                                              22,650.00                (432,234.64)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE MARQUETTE
5/20/2015                                                                2,675.00               (434,909.64)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
5/21/2015                                                                   200.00              (435,109.64)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
5/27/2015                                                                2,675.00               (437,784.64)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 6/3/2015                                                                2,675.00               (440,459.64)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
 6/5/2015                                                                1,385.25               (441,844.89)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
 6/8/2015                                                                9,550.00               (451,394.89)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE 8107 ELLIS
6/10/2015                                                                2,675.00               (454,069.89)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
6/11/2015                                                                1,050.00               (455,119.89)   3400 NEWKIRK          EQUITYBUILD
                                                                                                                                                           RETURN OF PARTIAL CONSULTING FEE 
6/12/2015                           10,000.00                                                   (445,119.89)   EQUITYBUILD FINANCE   3400 NEWKIRK          PHILLIPS
6/12/2015                                                              49,175.00                (494,294.89)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE 7616 PHILLIPS
6/17/2015                                                                2,675.00               (496,969.89)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
6/22/2015                                                                   200.00              (497,169.89)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
6/24/2015                                                                2,675.00               (499,844.89)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
7/1/2015                                                                 2,675.00               (502,519.89)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
7/1/2015                                                               10,000.00                (512,519.89)   3400 NEWKIRK          EQUITYBUILD FINANCE   CONSULTING FEE
7/8/2015                                                                 2,675.00               (515,194.89)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
7/8/2015                                                                 7,083.34               (522,278.23)   3400 NEWKIRK          EQUITYBUILD
7/9/2015                                                                 9,335.00               (531,613.23)   3400 NEWKIRK          EQUITYBUILD           75TH SALE COMMISSION
7/15/2015                                                                2,675.00               (534,288.23)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
7/17/2015                                                                1,385.25               (535,673.48)   COHEN, SHAUN          EQUITYBUILD           PAYROLL
7/21/2015                                                                   200.00              (535,873.48)   3400 NEWKIRK          EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
7/22/2015                                                                2,675.00               (538,548.48)   3400 NEWKIRK          EQUITYBUILD           CONSULTING FEE
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                  PAYMENTS FROM  PAYMENTS TO SHAUN 
                SHAUN COHEN AND                   COHEN AND 3400 
   DATE             3400 NEWKIRK                         NEWKIRK                               BALANCE                   PAYEE               PAYOR                  NOTES
7/29/2015                                                              2,675.00                   (541,223.48)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 8/5/2015                                                              2,675.00                   (543,898.48)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/12/2015                                                              2,675.00                   (546,573.48)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/17/2015                                                              1,385.25                   (547,958.73)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
8/19/2015                                                              2,675.00                   (550,633.73)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/20/2015                                                              3,541.67                   (554,175.40)   3400 NEWKIRK    EQUITYBUILD
8/21/2015                                                                 200.00                  (554,375.40)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
8/24/2015                                                            10,779.50                    (565,154.90)   3400 NEWKIRK    EQUITYBUILD FINANCE   CONSULTING FEE
8/26/2015                                                              2,675.00                   (567,829.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 9/2/2015                                                              2,675.00                   (570,504.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 9/9/2015                                                              2,675.00                   (573,179.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/16/2015                                                              2,675.00                   (575,854.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/21/2015                                                                 200.00                  (576,054.90)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
9/23/2015                                                              2,675.00                   (578,729.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/30/2015                                                              2,675.00                   (581,404.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/6/2015                                                              1,385.25                   (582,790.15)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
10/7/2015                                                              2,675.00                   (585,465.15)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/8/2015                                                              7,083.34                   (592,548.49)   3400 NEWKIRK    EQUITYBUILD
10/14/2015                                                             2,675.00                   (595,223.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/21/2015                                                                200.00                  (595,423.49)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
10/21/2015                                                             2,675.00                   (598,098.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/28/2015                                                             2,675.00                   (600,773.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/4/2015                                                              2,675.00                   (603,448.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/4/2015                                                              1,385.25                   (604,833.74)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
11/10/2015                                                             2,675.00                   (607,508.74)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/10/2015                                                             3,541.67                   (611,050.41)   3400 NEWKIRK    EQUITYBUILD
11/16/2015                                                             6,000.00                   (617,050.41)   3400 NEWKIRK    EQUITYBUILD FINANCE   CONSULTING FEE
11/18/2015                                                             3,000.00                   (620,050.41)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/23/2015                                                                200.00                  (620,250.41)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
11/24/2015                                                             3,000.00                   (623,250.41)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/2/2015                                                              3,000.00                   (626,250.41)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/4/2015                                                              1,385.25                   (627,635.66)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
12/9/2015                                                              3,000.00                   (630,635.66)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/14/2015                                                             1,831.88                   (632,467.54)   3400 NEWKIRK    EQUITYBUILD
12/14/2015                                                             3,541.67                   (636,009.21)   3400 NEWKIRK    EQUITYBUILD
12/16/2015                                                             3,000.00                   (639,009.21)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/21/2015                                                                200.00                  (639,209.21)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
12/22/2015                                                             3,000.00                   (642,209.21)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/29/2015                                                             3,000.00                   (645,209.21)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 1/6/2016                                                              3,500.00                   (648,709.21)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 1/7/2016                                                              3,541.67                   (652,250.88)   3400 NEWKIRK    EQUITYBUILD
 1/8/2016                                                              1,385.25                   (653,636.13)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
1/11/2016                                                            10,000.00                    (663,636.13)   3400 NEWKIRK    EQUITYBUILD
1/11/2016                           10,000.00                                                     (653,636.13)   EQUITYBUILD     COHEN, SHAUN          RETURN OF CONSULTING FEE
1/13/2016                                                              3,500.00                   (657,136.13)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
1/20/2016                                                              3,500.00                   (660,636.13)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
1/21/2016                                                                 200.00                  (660,836.13)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
1/27/2016                                                              3,500.00                   (664,336.13)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE

                                                                                                                                                       CHECK PAYABLE TO SHAUN COHEN 
2/1/2016                              2,750.00                                                    (661,586.13)   EQUITYBUILD     COHEN, SHAUN          FROM ZELDA WIGS DEPOSIT REFUND
2/3/2016                                                                   3,500.00               (665,086.13)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
2/4/2016                                                                   2,750.00               (667,836.13)   COHEN, SHAUN    EQUITYBUILD           DEPOSIT WRONG ACCOUNT
2/5/2016                                                                   1,385.25               (669,221.38)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
2/10/2016                                                                  3,500.00               (672,721.38)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
2/10/2016                                                                  3,541.67               (676,263.05)   3400 NEWKIRK    EQUITYBUILD
2/17/2016                                                                  3,500.00               (679,763.05)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
2/22/2016                                                                     200.00              (679,963.05)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
                                                                                                                                                       CHECK PAYABLE TO SHAUN COHEN 
2/23/2016                                270.00                                              (679,693.05)        EQUITYBUILD     COHEN, SHAUN          FROM ROBKIN, YOCHAI
2/23/2016                                                                     270.00
                                                                                             (679,963.05)        COHEN, SHAUN    EQUITYBUILD           DEPOSIT WRONG ACCOUNT
2/24/2016                                                                  3,500.00
                                                                                             (683,463.05)        3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/2/2016                                                                   3,500.00
                                                                                             (686,963.05)        3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/7/2016                                                                   1,385.25
                                                                                             (688,348.30)        COHEN, SHAUN    EQUITYBUILD           PAYROLL
3/9/2016                                                                   3,500.00
                                                                                             (691,848.30)        3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/9/2016                                                                   3,541.67
                                                                                             (695,389.97)        3400 NEWKIRK    EQUITYBUILD           LOAN
3/9/2016                              3,541.67                                               (691,848.30)        EQUITYBUILD     COHEN, SHAUN          RETURN OF LOAN
3/9/2016                                                                3,541.67            (695,389.97)         COHEN, SHAUN    EQUITYBUILD           LOAN
3/16/2016                                                               3,500.00            (698,889.97)         3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/21/2016                                                                  200.00            (699,089.97)        3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
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                PAYMENTS FROM  PAYMENTS TO SHAUN 
               SHAUN COHEN AND      COHEN AND 3400 
  DATE           3400 NEWKIRK              NEWKIRK                                             BALANCE                   PAYEE               PAYOR                  NOTES
3/23/2016                                                3,500.00                                 (702,589.97)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/1/2016                                                 3,500.00                                 (706,089.97)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/6/2016                                                 3,500.00                                 (709,589.97)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/6/2016                                                 1,385.25                                 (710,975.22)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
4/8/2016                                                 3,541.67                                 (714,516.89)   3400 NEWKIRK    EQUITYBUILD
4/12/2016                                              10,551.50                                  (725,068.39)   3400 NEWKIRK    EQUITYBUILD FINANCE   CONSULTING FEE
4/12/2016                                              18,237.50                                  (743,305.89)   3400 NEWKIRK    EQUITYBUILD FINANCE   CONSULTING FEE
4/13/2016                                                3,500.00                                 (746,805.89)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/20/2016                                                3,500.00                                 (750,305.89)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/21/2016                                                   200.00                                (750,505.89)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
4/27/2016                                                3,500.00                                 (754,005.89)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/27/2016                                              12,000.00                                  (766,005.89)   3400 NEWKIRK    EQUITYBUILD FINANCE   CONSULTING FEE
5/2/2016                                                       49.00                              (766,054.89)   3400 NEWKIRK    EQUITYBUILD
5/4/2016                                                 3,500.00                                 (769,554.89)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/5/2016                                                 1,385.25                                 (770,940.14)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
5/10/2016                                                3,541.67                                 (774,481.81)   3400 NEWKIRK    EQUITYBUILD
5/11/2016                                                3,500.00                                 (777,981.81)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/18/2016                                                3,500.00                                 (781,481.81)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/20/2016                                              15,000.00                                  (796,481.81)   3400 NEWKIRK    EQUITYBUILD FINANCE   CONSULTING FEE
5/23/2016                                                   200.00                                (796,681.81)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
5/25/2016                                                3,500.00                                 (800,181.81)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/1/2016                                                 3,500.00                                 (803,681.81)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/6/2016                                                 1,385.25                                 (805,067.06)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
6/8/2016                                                 3,500.00                                 (808,567.06)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/8/2016                                                 3,541.67                                 (812,108.73)   3400 NEWKIRK    EQUITYBUILD
6/15/2016                                                4,725.00                                 (816,833.73)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/21/2016                                                   200.00                                (817,033.73)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
6/22/2016                                                4,725.00                                 (821,758.73)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/29/2016                                                4,725.00                                 (826,483.73)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/6/2016                                                 4,725.00                                 (831,208.73)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/11/2016                                                3,541.67                                 (834,750.40)   3400 NEWKIRK    EQUITYBUILD
7/12/2016                                                1,385.25                                 (836,135.65)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
7/13/2016                                                6,249.25                                 (842,384.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/20/2016                                                6,249.25                                 (848,634.15)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/21/2016                                                   200.00                                (848,834.15)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
7/27/2016                                                6,249.25                                 (855,083.40)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/3/2016                                                 6,249.25                                 (861,332.65)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/10/2016                                                6,249.25                                 (867,581.90)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/11/2016                                                1,385.25                                 (868,967.15)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
8/12/2016                                                3,541.67                                 (872,508.82)   3400 NEWKIRK    EQUITYBUILD
8/17/2016                                                6,249.25                                 (878,758.07)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/22/2016                                                   200.00                                (878,958.07)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
                                                                                                                                                       WRONG ACCT 4019 INDIANA 
8/24/2016                                385.64                                                   (878,572.43)   COHEN, SHAUN    EQUITYBUILD FINANCE   OVERAGE
8/24/2016                                                                  6,249.25               (884,821.68)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/31/2016                                                                  6,249.25               (891,070.93)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 9/7/2016                                                                  6,249.25               (897,320.18)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 9/9/2016                                                                  1,385.25               (898,705.43)    EQUITYBUILD    EQUITYBUILD           PAYROLL
9/14/2016                                                                  6,249.25               (904,954.68)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/21/2016                                                                     200.00              (905,154.68)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
9/21/2016                                                                  6,249.25               (911,403.93)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/28/2016                                                                  6,249.25               (917,653.18)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/5/2016                                                                  6,249.25               (923,902.43)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/7/2016                                                                  7,083.34               (930,985.77)   3400 NEWKIRK    EQUITYBUILD
10/12/2016                                                                 6,249.25               (937,235.02)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/14/2016                                                                 1,385.25               (938,620.27)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
10/19/2016                                                                 6,249.25               (944,869.52)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/21/2016                                                                    200.00              (945,069.52)   3400 NEWKIRK    EQUITYBUILD FINANCE   CAR INSURANCE REIMBURSEMENT
10/26/2016                                                                 6,249.25               (951,318.77)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/2/2016                                                                  6,249.25               (957,568.02)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/8/2016                                                                  6,249.25               (963,817.27)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/10/2016                                                                 1,385.25               (965,202.52)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
11/16/2016                                                                 6,249.25               (971,451.77)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/21/2016                                                                 3,541.67               (974,993.44)   3400 NEWKIRK    EQUITYBUILD
11/22/2016                                                                 6,249.25               (981,242.69)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/30/2016                                                                 6,249.25               (987,491.94)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/7/2016                                                                  6,249.25               (993,741.19)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/9/2016                                                                     639.35              (994,380.54)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
12/14/2016                                                                 6,249.25            (1,000,629.79)    3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/21/2016                                                                 6,249.25            (1,006,879.04)    3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
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              PAYMENTS FROM  PAYMENTS TO SHAUN 
             SHAUN COHEN AND      COHEN AND 3400 
   DATE        3400 NEWKIRK              NEWKIRK                           BALANCE                  PAYEE               PAYOR                  NOTES
12/23/2016                                                639.34           (1,007,518.38)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
12/28/2016                                             6,249.25            (1,013,767.63)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 1/4/2017                                              6,249.25            (1,020,016.88)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 1/6/2017                                                 639.35           (1,020,656.23)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
1/11/2017                                              6,249.25            (1,026,905.48)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
1/18/2017                                              6,249.25            (1,033,154.73)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
1/20/2017                                                 639.34           (1,033,794.07)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
1/25/2017                                              6,249.25            (1,040,043.32)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 2/1/2017                                              6,249.25            (1,046,292.57)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 2/3/2017                                                 639.35           (1,046,931.92)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 2/8/2017                                              6,249.25            (1,053,181.17)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
2/15/2017                                              6,249.25            (1,059,430.42)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
2/17/2017                                                 639.36           (1,060,069.78)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
2/22/2017                                              6,249.25            (1,066,319.03)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 3/1/2017                                              6,249.25            (1,072,568.28)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 3/3/2017                                                 639.34           (1,073,207.62)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 3/8/2017                                              6,249.25            (1,079,456.87)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/15/2017                                              6,249.25            (1,085,706.12)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/17/2017                                                 639.35           (1,086,345.47)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
3/22/2017                                              6,249.25            (1,092,594.72)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/23/2017                                            14,166.68             (1,106,761.40)   3400 NEWKIRK    EQUITYBUILD
3/29/2017                                              6,249.25            (1,113,010.65)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/31/2017                                                 639.35           (1,113,650.00)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 4/5/2017                                              6,249.25            (1,119,899.25)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/12/2017                                              6,249.25            (1,126,148.50)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/14/2017                                                 639.34           (1,126,787.84)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
4/19/2017                                              6,249.25            (1,133,037.09)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/26/2017                                              6,249.25            (1,139,286.34)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/28/2017                                                 639.35           (1,139,925.69)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 5/3/2017                                              6,249.25            (1,146,174.94)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/10/2017                                              6,249.25            (1,152,424.19)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/12/2017                                                 639.36           (1,153,063.55)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
5/18/2017                                              6,249.25            (1,159,312.80)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/24/2017                                              6,249.25            (1,165,562.05)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/26/2017                                                 639.34           (1,166,201.39)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
5/31/2017                                              6,249.25            (1,172,450.64)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 6/7/2017                                              6,249.25            (1,178,699.89)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 6/9/2017                                                 639.35           (1,179,339.24)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
6/14/2017                                              6,249.25            (1,185,588.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/21/2017                                              6,249.25            (1,191,837.74)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/23/2017                                                 639.35           (1,192,477.09)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
6/28/2017                                              6,249.25            (1,198,726.34)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 7/5/2017                                              6,249.25            (1,204,975.59)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 7/7/2017                                                 639.34           (1,205,614.93)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
7/12/2017                                              6,249.25            (1,211,864.18)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/19/2017                                              6,249.25            (1,218,113.43)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/21/2017                                                 639.35           (1,218,752.78)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
7/26/2017                                              6,249.25            (1,225,002.03)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 8/1/2017                                              7,600.00            (1,232,602.03)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 8/4/2017                                                 639.35           (1,233,241.38)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 8/8/2017                                              7,600.00            (1,240,841.38)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/15/2017                                              7,600.00            (1,248,441.38)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/18/2017                                                 639.36           (1,249,080.74)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
8/22/2017                                              7,600.00            (1,256,680.74)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
8/29/2017                                              7,600.00            (1,264,280.74)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 9/1/2017                                                 639.34           (1,264,920.08)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 9/5/2017                                              7,600.00            (1,272,520.08)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 9/7/2017                                            22,000.00             (1,294,520.08)   3400 NEWKIRK    EQUITYBUILD FINANCE   LOAN
9/12/2017                                              7,600.00            (1,302,120.08)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/15/2017                                                 639.35           (1,302,759.43)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
9/19/2017                                              7,600.00            (1,310,359.43)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/26/2017                                              7,600.00            (1,317,959.43)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
9/27/2017                                            13,000.00             (1,330,959.43)   3400 NEWKIRK    EQUITYBUILD           REPAY INSURANCE PREMIUMS
9/29/2017                                                 639.35           (1,331,598.78)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
10/3/2017                                              7,600.00            (1,339,198.78)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/10/2017                                             7,600.00            (1,346,798.78)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/13/2017                                                639.34           (1,347,438.12)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
10/17/2017                                             7,600.00            (1,355,038.12)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/24/2017                                             7,600.00            (1,362,638.12)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
10/27/2017                                                639.35           (1,363,277.47)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
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                PAYMENTS FROM  PAYMENTS TO SHAUN 
              SHAUN COHEN AND                 COHEN AND 3400 
   DATE           3400 NEWKIRK                       NEWKIRK                           BALANCE                  PAYEE                 PAYOR                 NOTES
10/31/2017                                                         7,600.00            (1,370,877.47)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/1/2017                                                        13,000.00             (1,383,877.47)   3400 NEWKIRK    EQUITYBUILD           PARTIAL REPAY LOAN BAL 7080
11/7/2017                                                          7,600.00            (1,391,477.47)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/10/2017                                                            639.35           (1,392,116.82)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
11/14/2017                                                         7,600.00            (1,399,716.82)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/21/2017                                                         7,600.00            (1,407,316.82)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
11/24/2017                                                            639.35           (1,407,956.17)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
11/28/2017                                                         7,600.00            (1,415,556.17)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/5/2017                                                          7,600.00            (1,423,156.17)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/8/2017                                                             639.35           (1,423,795.52)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
12/8/2017                                                          3,515.00            (1,427,310.52)   3400 NEWKIRK    EQUITYBUILD           LOAN
12/12/2017                                                         7,600.00            (1,434,910.52)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/14/2017                                                         3,900.00            (1,438,810.52)   3400 NEWKIRK    EQUITYBUILD           LOAN FROM TIKKUN
12/19/2017                                                         7,600.00            (1,446,410.52)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/22/2017                                                            639.35           (1,447,049.87)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
12/26/2017                                                         7,600.00            (1,454,649.87)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
12/28/2017                                                            930.00           (1,455,579.87)   3400 NEWKIRK    EQUITYBUILD           LOAN
 1/2/2018                                                          7,600.00            (1,463,179.87)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 1/4/2018                                                          2,100.00            (1,465,279.87)   3400 NEWKIRK    EQUITYBUILD           LOAN FROM TIKKUN
 1/5/2018                                                             639.35           (1,465,919.22)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 1/9/2018                                                          7,600.00            (1,473,519.22)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
1/10/2018                                                          3,515.00            (1,477,034.22)   3400 NEWKIRK    EQUITYBUILD           LOAN
1/16/2018                                                          7,600.00            (1,484,634.22)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
1/19/2018                                                             639.34           (1,485,273.56)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
1/23/2018                                                          7,600.00            (1,492,873.56)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 2/2/2018                                                             639.35           (1,493,512.91)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 2/8/2018                                                          3,515.00            (1,497,027.91)   3400 NEWKIRK    EQUITYBUILD           LOAN
 2/9/2018                                                          1,968.50            (1,498,996.41)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
2/16/2018                                                             639.36           (1,499,635.77)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
2/20/2018                                                          7,600.00            (1,507,235.77)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 3/2/2018                                                             639.34           (1,507,875.11)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 3/6/2018                                                          1,302.00            (1,509,177.11)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 3/6/2018                                                          7,600.00            (1,516,777.11)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 3/8/2018                                                          3,541.67            (1,520,318.78)   3400 NEWKIRK    EQUITYBUILD           LOAN
3/13/2018                                                          7,600.00            (1,527,918.78)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/16/2018                                                             639.35           (1,528,558.13)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
3/19/2018                                                          2,600.00            (1,531,158.13)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/27/2018                                                          7,600.00            (1,538,758.13)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
3/30/2018                                                             639.35           (1,539,397.48)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 4/3/2018                                                          7,600.00            (1,546,997.48)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/10/2018                                                          7,600.00            (1,554,597.48)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/10/2018                                                          3,541.67            (1,558,139.15)   3400 NEWKIRK    EQUITYBUILD           LOAN
4/13/2018                                                             639.34           (1,558,778.49)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
4/17/2018                                                          7,600.00            (1,566,378.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/24/2018                                                          7,600.00            (1,573,978.49)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
4/27/2018                                                             639.35           (1,574,617.84)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
 5/1/2018                                                          7,600.00            (1,582,217.84)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 5/8/2018                                                          7,600.00            (1,589,817.84)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/10/2018                                                          3,541.67            (1,593,359.51)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/11/2018                                                             639.36           (1,593,998.87)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
5/15/2018                                                          7,600.00            (1,601,598.87)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/22/2018                                                          7,600.00            (1,609,198.87)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
5/25/2018                                                             639.34           (1,609,838.21)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
5/29/2018                                                          7,600.00            (1,617,438.21)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 6/5/2018                                                          7,600.00            (1,625,038.21)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 6/8/2018                                                          3,451.67            (1,628,489.88)   3400 NEWKIRK    EQUITYBUILD           LOAN
 6/8/2018                                                             639.35           (1,629,129.23)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
6/12/2018                                                          7,600.00            (1,636,729.23)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/19/2018                                                          7,600.00            (1,644,329.23)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
6/22/2018                                                             639.35           (1,644,968.58)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
6/26/2018                                                          7,600.00            (1,652,568.58)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 7/2/2018                                                          7,600.00            (1,660,168.58)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 7/6/2018                                                             639.34           (1,660,807.92)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
7/11/2018                                                          7,600.00            (1,668,407.92)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/17/2018                                                          7,600.00            (1,676,007.92)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/20/2018                                                             639.35           (1,676,647.27)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
7/24/2018                                                          7,600.00            (1,684,247.27)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
7/31/2018                                                          7,600.00            (1,691,847.27)   3400 NEWKIRK    EQUITYBUILD           CONSULTING FEE
 8/3/2018                                                             639.34           (1,692,486.61)   COHEN, SHAUN    EQUITYBUILD           PAYROLL
                               294,818.79                  1,987,305.40
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                                         PREJUDGMENT INTEREST CALCULATION
                                                   Shaun Cohen
                                                              Case No.: 18-CV-5587

                                                       [1]               [2]                  [3]                    [4]              [5]
                                                   ANNUAL            PERIOD                 PERIOD                  PERIOD
      PERIOD                                        RATE              RATE                INTEREST                 AMOUNT            TOTAL

         08/15/13         to      09/30/13            3%               0.75%         $                 -       $       125,439   $      125,439
         10/01/13         to      12/31/13            3%               0.75%                         941                48,877          175,256
         01/01/14         to      03/31/14            3%               0.75%                       1,314                38,519          215,090
         04/01/14         to      06/30/14            3%               0.75%                       1,613                24,929          241,632
         07/01/14         to      09/30/14            3%               0.75%                       1,812                 6,088          249,531
         10/01/14         to      12/31/14            3%               0.75%                       1,871                85,564          336,967
         01/01/15         to      03/31/15            3%               0.75%                       2,527                44,481          383,975
         04/01/15         to      06/30/15            3%               0.75%                       2,880               125,949          512,804
         07/01/15         to      09/30/15            3%               0.75%                       3,846                81,560          598,210
         10/01/15         to      12/31/15            3%               0.75%                       4,487                63,804          666,501
         01/01/16         to      03/31/16            3%               0.75%                       4,999                57,381          728,881
         04/01/16         to      06/30/16            4%               1.00%                       7,289               123,894          860,063
         07/01/16         to      09/30/16            4%               1.00%                       8,601                91,169          959,833
         10/01/16         to      12/31/16            4%               1.00%                       9,598                96,114        1,065,546
         01/01/17         to      03/31/17            4%               1.00%                      10,655                99,882        1,176,084
         04/01/17         to      06/30/17            4%               1.00%                      11,761                85,076        1,272,921
         07/01/17         to      09/30/17            4%               1.00%                      12,729               132,872        1,418,523
         10/01/17         to      12/31/17            4%               1.00%                      14,185               123,981        1,556,689
         01/01/18         to      03/31/18            4%               1.00%                      15,567                83,818        1,656,073
         04/01/18         to      06/30/18            5%               1.25%                      20,701               113,171        1,789,945
         07/01/18         to      08/15/18            5%               0.63%                      11,187                39,918        1,841,051
                                                                                     $           148,564       $     1,692,487




                                  DISGORGEMENT SUMMARY
      TOTAL DISGORGEMENT AMOUNT                                                       $      1,692,487
      TOTAL INTEREST                                                                           148,564
                                                                                      $      1,841,051



NOTES

[1]   Interest rates for underpayments published quarterly by the Internal Revenue Service in accordance with Section 6621.
[2]   Interest rate to be used in the calculation. For example, the rate for the period ending December 31, 2013, is 3% divided by 4.
[3]   The interest amount calculated for the period which equals the preceding period total multiplied by the period interest rate.
[4]   Total disgorgement amount for period is sum of payments received by Shaun Cohen and 3400 Newkirk from Equitybuild and Equitybuild Financ
[5] Total is the preceding period total plus the interest calculated for the period, plus the period amount.
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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
  DATE          AND TIKKUN    AND TIKKUN                     BALANCE                        PAYEE                      PAYOR             NOTES
                                                                                                                               CHECK #2345 MEMO: 
8/21/2013                                 12,000.00           (12,000.00) TIKKUN                         EQUITYBUILD           CONSULTING FEE
8/22/2013                                   2,800.00           (14,800.00) COHEN, JERRY                  EQUITYBUILD           CHECK # 2347
                                                                                                                               CHECK # 2346 MEMO: 
                                                                                                                               REIMBURSEMENT + BRUCE 
8/22/2013                                       533.75             (15,333.75)   COHEN, JERRY            EQUITYBUILD           COHEN PAYPAL DEPOSIT
8/23/2013                                       323.22             (15,656.97)   COHEN, JERRY            EQUITYBUILD           PAYROLL
8/29/2013                                   5,500.00               (21,156.97)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
8/29/2013                                   1,500.00               (22,656.97)   COHEN, JERRY            EQUITYBUILD           LOAN
9/6/2013                                        323.22             (22,980.19)   COHEN, JERRY            EQUITYBUILD           PAYROLL
9/10/2013                                   3,000.00               (25,980.19)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
9/11/2013                                   5,500.00               (31,480.19)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
9/19/2013                                   1,500.00               (32,980.19)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
9/20/2013                                       323.22             (33,303.41)   COHEN, JERRY            EQUITYBUILD           PAYROLL
9/23/2013                                   1,500.00               (34,803.41)   COHEN, JERRY            EQUITYBUILD           PAYROLL
                                                                                                                               CHECK # 2349 MEMO: PROFIT 
9/25/2013                                   3,000.00           (37,803.41) COHEN, JERRY                  EQUITYBUILD           DISTRIBUTION
                                                                                                                               CHECK # 2348 MEMO: 
9/25/2013                                 10,000.00                (47,803.41)   TIKKUN                  EQUITYBUILD           CONSULTING
10/1/2013                                   6,000.00               (53,803.41)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
10/4/2013                                       323.22             (54,126.63)   COHEN, JERRY            EQUITYBUILD           EXPENSE RB
10/11/2013                                  2,000.00               (56,126.63)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
10/15/2013                                  2,000.00               (58,126.63)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
10/17/2013                                  1,500.00               (59,626.63)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
10/18/2013                                      323.22             (59,949.85)   COHEN, JERRY            EQUITYBUILD           EXPENSE RB
10/31/2013                                  5,500.00               (65,449.85)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
11/1/2013                                       323.22             (65,773.07)   COHEN, JERRY            EQUITYBUILD           EXPENSE RB
11/5/2013                                   2,000.00               (67,773.07)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
11/7/2013                                   1,000.00               (68,773.07)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
11/12/2013                                  1,500.00               (70,273.07)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
11/15/2013                                  2,000.00               (72,273.07)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
11/18/2013                                  2,000.00               (74,273.07)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
11/19/2013                                      323.22             (74,596.29)   COHEN, JERRY            EQUITYBUILD           PAYROLL
11/25/2013                                  2,000.00               (76,596.29)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                               CHECK # 2354 MEMO: 
11/26/2013                                  6,000.00           (82,596.29) TIKKUN                        EQUITYBUILD           CONSULT
11/29/2013                                      323.22           (82,919.51) COHEN, JERRY                EQUITYBUILD           PAYROLL
12/2/2013                                   5,500.00           (88,419.51) COHEN, JERRY                  EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                               CHECK # 2357 MEMO: 
12/3/2013                                   1,325.00           (89,744.51) COHEN, JERRY                  EQUITYBUILD           COMMISSION 7701 S ESSEX
                                                                                                                               CHECK # 2359 MEMO: 
12/3/2013                                   8,000.00               (97,744.51)   TIKKUN                  EQUITYBUILD           COMMISSION 7701 S ESSEX
12/10/2013                                  1,000.00               (98,744.51)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
12/12/2013                                  4,500.00             (103,244.51)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
12/13/2013                                      323.22           (103,567.73)    COHEN, JERRY            EQUITYBUILD           PAYROLL
12/20/2013                                  1,500.00             (105,067.73)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                               CHECK # 2358 MEMO: 
12/20/2013                                  9,500.00             (114,567.73)    TIKKUN                  EQUITYBUILD           CONSULT FEE
12/23/2013                                  1,000.00             (115,567.73)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
12/24/2013                                  1,500.00             (117,067.73)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
12/27/2013                                      323.22           (117,390.95)    COHEN, JERRY            EQUITYBUILD           PAYROLL
12/30/2013                                      800.00           (118,190.95)    COHEN, JERRY            EQUITYBUILD           PAYPAL TRANSFER
12/31/2013                                  5,500.00             (123,690.95)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
 1/9/2014                                   2,000.00             (125,690.95)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
1/10/2014                                   1,500.00             (127,190.95)    COHEN, JERRY            EQUITYBUILD           EXPENSE REIMBURSEMENT
1/10/2014                                       323.22           (127,514.17)    COHEN, JERRY            EQUITYBUILD           PAYROLL
1/15/2014                                   2,000.00             (129,514.17)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
1/16/2014                                   2,000.00             (131,514.17)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
1/21/2014                                   2,000.00             (133,514.17)    COHEN, JERRY            EQUITYBUILD           BONUS
                                                                                                                               CHECK # 2360 MEMO: GK 
                                                                                                                               CONSULT HMC + 425 PAYPAL 
1/23/2014                                   6,425.00             (139,939.17)    TIKKUN                  EQUITYBUILD           REIMB
1/24/2014                                       323.22           (140,262.39)    COHEN, JERRY            EQUITYBUILD           PAYROLL
1/27/2014                                   6,000.00             (146,262.39)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
2/4/2014                                    2,000.00             (148,262.39)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
2/7/2014                                        323.22           (148,585.61)    COHEN, JERRY            EQUITYBUILD           PAYROLL
2/10/2014                                   1,500.00             (150,085.61)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
2/11/2014                                   1,000.00             (151,085.61)    COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                               ADVANCE COMMISSION FOR 
2/12/2014                                   1,000.00         (152,085.61) COHEN, JERRY                   EQUITYBUILD           68TH




                                                                                                Page 1
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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE         AND TIKKUN      AND TIKKUN                 BALANCE                   PAYEE                                          PAYOR             NOTES
2/14/2014                                  5,500.00         (157,585.61) COHEN, JERRY                                EQUITYBUILD           PROFIT DISTRIBUTION

                                                                                                                                           CHECK # 2363 MEMO: 1422 E 
2/14/2014                                                3,684.20         (161,269.81) COHEN, JERRY                  EQUITYBUILD           68TH COMMISSION BALANCE
2/21/2014                                                    323.22         (161,593.03) COHEN, JERRY                EQUITYBUILD           PAYROLL
                                                                                                                                           CHECK # 2364 MEMO: 7823 
2/26/2014                                                2,500.00         (164,093.03) COHEN, JERRY                  EQUITYBUILD           ESSEX COMMISSION
                                                                                                                                           CHECK # 2365 MEMO: 
2/27/2014                                              15,000.00         (179,093.03) TIKKUN                         EQUITYBUILD           CONSULTING
                                                                                                                                           CHECK # 2366 MEMO: 7823 
2/27/2014                                                3,000.00         (182,093.03) TIKKUN                        EQUITYBUILD           ESSEX COMMISSION
                                                                                                                                           PURCHASE 4755 ST 
2/27/2014                     7,949.89                                      (174,143.14)     EQUITYBUILD FINANCE     TIKKUN                LAWRENCE INTEREST
2/28/2014                                                5,500.00         (179,643.14)       COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
3/7/2014                                                     323.22         (179,966.36)     COHEN, JERRY            EQUITYBUILD           PAYROLL
3/17/2014                                                5,500.00         (185,466.36)       COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                                           CHECK # 2369 MEMO: 
                                                                                                                                           CONSULT TO PACKAGE MLK 
3/18/2014                                              11,375.00         (196,841.36) TIKKUN                         EQUITYBUILD           PROPERTY
3/21/2014                                                    323.22         (197,164.58) COHEN, JERRY                EQUITYBUILD           PAYROLL
                                                                                                                                           CHECK # 2370 MEMO: 
3/21/2014                                                8,000.00
                                                                      (205,164.58)           TIKKUN                  EQUITYBUILD           CONSULT
3/24/2014                                                1,500.00
                                                                      (206,664.58)           COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
3/31/2014                                                5,500.00
                                                                      (212,164.58)           COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
4/4/2014                                                     323.22
                                                                      (212,487.80)           COHEN, JERRY            EQUITYBUILD           PAYROLL
4/8/2014                                                 2,000.00
                                                                      (214,487.80)           COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
4/9/2014                                                 2,000.00
                                                                      (216,487.80)           COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
4/10/2014                                                2,000.00
                                                                      (218,487.80)           COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
4/11/2014                                                2,000.00
                                                                      (220,487.80)           COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
4/11/2014                 154,757.00                                    (65,730.80)          EQUITYBUILD             TIKKUN                LOAN
4/14/2014                                            4,500.00           (70,230.80)          COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                                           CHECK # 2372 MEMO: 
4/25/2014                                                9,000.00           (79,230.80) TIKKUN                       EQUITYBUILD           CONSULTING
5/1/2014                                                 5,500.00           (84,730.80) COHEN, JERRY                 EQUITYBUILD           PROFIT DISTRIBUTION
5/2/2014                                                     323.22           (85,054.02) COHEN, JERRY               EQUITYBUILD           PAYROLL
                                                                                                                                           CHECK # 2374 MEMO: 
                                                                                                                                           ZERFOSS LOAN REPAYMENT 
5/6/2014                                             154,757.00         (239,811.02) EQUITYBUILD                     TIKKUN                IN FULL
5/7/2014                                                 1,500.00         (241,311.02) COHEN, JERRY                  EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                                           CHECK # 2375 MEMO: 4735 S 
                                                                                                                                           ST LAWRENCE SALE 
5/8/2014                                                 1,935.30         (243,246.32) TIKKUN                        EQUITYBUILD           PROCEEDS
5/9/2014                                                 2,000.00         (245,246.32) COHEN, JERRY                  EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                                           CHECK # 2376 MEMO: 6201 
5/13/2014                                              11,387.00         (256,633.32) TIKKUN                         EQUITYBUILD           LANGLEY COMMISSION
                                                                                                                                           CHECK # 2377 MEMO: 
                                                                                                                                           TRANSFER OF NEWARK 
5/13/2014                                                3,500.00             (260,133.32)   TIKKUN                  EQUITYBUILD           DEPOSIT INTO EB ACCOUNT
5/14/2014                                                5,500.00             (265,633.32)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
5/16/2014                                                    323.22           (265,956.54)   COHEN, JERRY            EQUITYBUILD           PAYROLL
5/20/2014                                                1,500.00             (267,456.54)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
5/22/2014                                                1,200.00             (268,656.54)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
5/23/2014                                                1,000.00             (269,656.54)   COHEN, JERRY            EQUITYBUILD
5/23/2014                                                9,000.00             (278,656.54)   TIKKUN                  EQUITYBUILD           CONSULTING FEE
5/23/2014                                                3,000.00             (281,656.54)   TIKKUN                  EQUITYBUILD           CONSULTING FEE
5/28/2014                                                2,000.00             (283,656.54)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
5/30/2014                                                    323.22           (283,979.76)   COHEN, JERRY            EQUITYBUILD           PAYROLL
6/2/2014                                                 7,500.00             (291,479.76)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                                           REIMBURSE NEWKIRK 
6/3/2014                                                 6,000.00             (297,479.76)   TIKKUN                  EQUITYBUILD           INCORRECT DEP
6/10/2014                                                2,000.00             (299,479.76)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
6/13/2014                                                    323.22           (299,802.98)   COHEN, JERRY            EQUITYBUILD           PAYROLL
6/16/2014                                                5,500.00             (305,302.98)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
6/19/2014                                                1,500.00             (306,802.98)   COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
                                                                                                                                           LOAN FOR 7635 COLES 
6/20/2014                   25,000.00                                       (281,802.98)     EQUITYBUILD             TIKKUN                REHAB PLANS AND PERMIT
6/23/2014                     1,500.00                                      (280,302.98)     COHEN, JERRY            EQUITYBUILD           REVERSE TRANSFER
6/23/2014                                                2,000.00         (282,302.98)       COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
6/23/2014                                                1,000.00         (283,302.98)       COHEN, JERRY            EQUITYBUILD           PROFIT DISTRIBUTION
6/27/2014                                                    323.22         (283,626.20)     COHEN, JERRY            EQUITYBUILD           PAYROLL




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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
  DATE          AND TIKKUN      AND TIKKUN                 BALANCE                   PAYEE                                            PAYOR             NOTES
6/30/2014                                   2,000.00         (285,626.20) COHEN, JERRY                                EQUITYBUILD
6/30/2014                                   1,000.00         (286,626.20) COHEN, JERRY                                EQUITYBUILD
7/1/2014                                    7,500.00         (294,126.20) COHEN, JERRY                                EQUITYBUILD             PROFIT DISTRIBUTION
                                                                                                                                              7635 COLES REPAY REHAB 
 7/2/2014                                               25,000.00              (319,126.20)   TIKKUN                  EQUITYBUILD             DEP LOAN
 7/2/2014                                               12,862.50              (331,988.70)   TIKKUN                  EQUITYBUILD             7635 COLES COMMISSION
 7/9/2014                                                 2,000.00             (333,988.70)   COHEN, JERRY            EQUITYBUILD
 7/9/2014                                                 6,250.00             (340,238.70)   TIKKUN                  EQUITYBUILD             YISRO CAPITAL INVEST
                                                                                                                                              YISRO JULY OPERATION 
7/9/2014                       6,250.00                                        (333,988.70)   EQUITYBUILD             TIKKUN ‐ 401K ACCT      COSTS
7/11/2014                                                 5,500.00             (339,488.70)   COHEN, JERRY            EQUITYBUILD             PROFIT DISTRIBUTION
7/11/2014                                                 1,500.00             (340,988.70)   COHEN, JERRY            EQUITYBUILD
7/11/2014                                                     323.22           (341,311.92)   COHEN, JERRY            EQUITYBUILD             PAYROLL
7/16/2014                                                 7,500.00             (348,811.92)   TIKKUN                  EQUITYBUILD             CONSULTING FEE
7/18/2014                                                 2,000.00             (350,811.92)   COHEN, JERRY            EQUITYBUILD
7/25/2014                                                     323.22           (351,135.14)   COHEN, JERRY            EQUITYBUILD             PAYROLL
7/28/2014                    20,000.00                                         (331,135.14)   EQUITYBUILD             TIKKUN                  LOAN FOR ELLIS EM
7/30/2014                                                 1,500.00             (332,635.14)   COHEN, JERRY            EQUITYBUILD
7/31/2014                                                 6,000.00             (338,635.14)   COHEN, JERRY            EQUITYBUILD             PROFIT DISTRIBUTION
8/5/2014                                                20,000.00              (358,635.14)   TIKKUN                  EQUITYBUILD             REPAY ELLIS LOAN
8/6/2014                       6,250.00                                        (352,385.14)   EQUITYBUILD             TIKKUN ‐ 401K ACCT      AUG YISRO OVERHEAD
8/7/2014                                                  6,250.00             (358,635.14)   TIKKUN                  EQUITYBUILD             TRANSFER FROM NEWKIRK
8/8/2014                                                  1,500.00             (360,135.14)   COHEN, JERRY            EQUITYBUILD
8/8/2014                                                      323.22           (360,458.36)   COHEN, JERRY            EQUITYBUILD             PAYROLL
8/8/2014                     24,000.00                                         (336,458.36)   EQUITYBUILD             TIKKUN                  TIKKUN LOAN TO NICKEL
8/12/2014                                                 2,000.00             (338,458.36)   COHEN, JERRY            EQUITYBUILD
8/14/2014                  100,000.00                                          (238,458.36)   EQUITYBUILD             TIKKUN                  LOAN FROM TIKKUN
8/15/2014                                                 2,000.00             (240,458.36)   COHEN, JERRY            EQUITYBUILD
8/18/2014                                                 2,000.00             (242,458.36)   COHEN, JERRY            EQUITYBUILD
8/18/2014                                                 2,000.00             (244,458.36)   COHEN, JERRY            EQUITYBUILD
8/20/2014                                                 2,000.00             (246,458.36)   COHEN, JERRY            EQUITYBUILD             PROFIT DISTRIBUTION
8/20/2014                                                 2,000.00             (248,458.36)   COHEN, JERRY            EQUITYBUILD             HMC COMMISSION
8/22/2014                                                     323.22           (248,781.58)   COHEN, JERRY            EQUITYBUILD             PAYROLL
9/3/2014                                                  2,000.00             (250,781.58)   COHEN, JERRY            EQUITYBUILD
9/4/2014                                                  4,500.00             (255,281.58)   COHEN, JERRY            EQUITYBUILD
9/5/2014                                                      323.22           (255,604.80)   COHEN, JERRY            EQUITYBUILD             PAYROLL
9/10/2014                                                 1,000.00             (256,604.80)   COHEN, JERRY            EQUITYBUILD
9/12/2014                                                 6,000.00             (262,604.80)   COHEN, JERRY            EQUITYBUILD
9/12/2014                                             100,000.00               (362,604.80)   TIKKUN                  EQUITYBUILD             REPAYMENT OF LOAN
9/15/2014                                               54,750.00              (417,354.80)   TIKKUN                  EQUITYBUILD             REPAYMENT OF LOAN
                                                                                                                                              SEPT YISRO OPERATIONAL 
9/15/2014                      4,750.00                                    (412,604.80) EQUITYBUILD                   TIKKUN ‐ 401K ACCT      FOR TIKKUN
9/17/2014                                                 1,000.00         (413,604.80) COHEN, JERRY                  EQUITYBUILD
                                                                                                                                              LOAN FOR KILBOURNE 
9/18/2014                    30,000.00                                         (383,604.80)   EQUITYBUILD             TIKKUN                  WASHINGTON LARAMIE EM
9/19/2014                                                 2,000.00             (385,604.80)   COHEN, JERRY            EQUITYBUILD             HMC COMMISSION
9/19/2014                                                     323.22           (385,928.02)   COHEN, JERRY            EQUITYBUILD             PAYROLL
9/23/2014                                                 1,000.00             (386,928.02)   COHEN, JERRY            EQUITYBUILD             CHECK # 2386
9/29/2014                                                 6,500.00             (393,428.02)   COHEN, JERRY            EQUITYBUILD
10/3/2014                                                     323.22           (393,751.24)   COHEN, JERRY            EQUITYBUILD             PAYROLL
10/3/2014                      9,700.00                                        (384,051.24)   EQUITYBUILD             TIKKUN                  COVER LOAN TO NICKAL
10/8/2014                                                 1,500.00             (385,551.24)   COHEN, JERRY            EQUITYBUILD             CHECK # 2389
10/14/2014                                                6,500.00             (392,051.24)   COHEN, JERRY            EQUITYBUILD             CHECK #2392
10/17/2014                                                    323.22           (392,374.46)   COHEN, JERRY            EQUITYBUILD             PAYROLL

10/22/2014                                                3,250.00         (395,624.46) TIKKUN                        EQUITYBUILD             TRANSFER OF YISRO DEPOSIT
                                                                                                                                              REPYAMENT OF EARNEST 
10/22/2014                                              30,000.00         (425,624.46) TIKKUN                         EQUITYBUILD             DEPOSIT LOANS
                                                                                                                                              YISRO OPERATING EXPENSES 
10/22/2014                     3,250.00                                    (422,374.46) EQUITYBUILD                   TIKKUN ‐ 401K ACCT      FOR TIKKUN
10/23/2014                                                1,000.00         (423,374.46) COHEN, JERRY                  EQUITYBUILD
                                                                                                                                              CHECK # 1128 MEMO: 
10/24/2014                                              26,450.00              (449,824.46)   TIKKUN                  EQUITYBUILD             CONSULTING FEE
10/30/2014                                                6,000.00             (455,824.46)   COHEN, JERRY            EQUITYBUILD
10/31/2014                                                    323.22           (456,147.68)   COHEN, JERRY            EQUITYBUILD             PAYROLL
11/7/2014                                                 2,000.00             (458,147.68)   COHEN, JERRY            EQUITYBUILD
11/12/2014                                                6,500.00             (464,647.68)   COHEN, JERRY            EQUITYBUILD
11/12/2014                                                1,000.00             (465,647.68)   COHEN, JERRY            EQUITYBUILD
11/14/2014                                                    323.22           (465,970.90)   COHEN, JERRY            EQUITYBUILD             PAYROLL
11/26/2014                                                1,000.00             (466,970.90)   COHEN, JERRY            EQUITYBUILD




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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
   DATE          AND TIKKUN              AND TIKKUN                         BALANCE                      PAYEE                        PAYOR             NOTES
11/26/2014                                           1,000.00                 (467,970.90)    COHEN, JERRY            EQUITYBUILD
11/26/2014                                         13,000.00                  (480,970.90)    TIKKUN                  EQUITYBUILD
11/28/2014                                               323.22               (481,294.12)    COHEN, JERRY            EQUITYBUILD             PAYROLL
12/1/2014                                            6,000.00                 (487,294.12)    COHEN, JERRY            EQUITYBUILD
12/2/2014                 553,591.56                                              66,297.44   EQUITYBUILD             TIKKUN                  LOAN TO CLOSE KINGSTON
12/8/2014                                            1,000.00                     65,297.44   COHEN, JERRY            EQUITYBUILD
                                                                                                                                              PARTIAL REPAY KINGSTON 
12/8/2014                                            319,472.00         (254,174.56) TIKKUN                           EQUITYBUILD             LOAN
                                                                                                                                              PARTILA REPAY KINGSTON 
12/9/2014                                              34,119.56         (288,294.12) TIKKUN                          EQUITYBUILD             LOAN BAL 200K
                                                                                                                                              PARTIAL REPAY KINGSTON 
12/9/2014                                              50,000.00              (338,294.12)    TIKKUN                  EQUITYBUILD             LOAN BAL 150K
12/9/2014                                              11,564.00              (349,858.12)    TIKKUN                  EQUITYBUILD             DEPOSITED IN ERROR
12/11/2014                                                   500.00           (350,358.12)    COHEN, JERRY            EQUITYBUILD
12/11/2014                                               1,500.00             (351,858.12)    COHEN, JERRY            EQUITYBUILD
12/12/2014                                                   323.22           (352,181.34)    COHEN, JERRY            EQUITYBUILD             PAYROLL
12/15/2014                                               6,500.00             (358,681.34)    COHEN, JERRY            EQUITYBUILD
                                                                                                                                              PARTIAL REPAY LOAN 
12/17/2014                                             25,000.00              (383,681.34)    TIKKUN                  EQUITYBUILD             BALANCE 125K
12/22/2014                                             10,300.00              (393,981.34)    TIKKUN                  EQUITYBUILD             DEPOSITED TO EB IN ERROR
12/24/2014                                                   323.22           (394,304.56)    COHEN, JERRY            EQUITYBUILD             PAYROLL
12/29/2014                                               1,000.00             (395,304.56)    COHEN, JERRY            EQUITYBUILD
12/30/2014                                               1,000.00             (396,304.56)    COHEN, JERRY            EQUITYBUILD
                                                                                                                                              REPAY KINGSTON LOAN BAL 
12/31/2014                                             25,000.00         (421,304.56) TIKKUN                          EQUITYBUILD             $100K
 1/2/2015                                                1,385.25         (422,689.81) COHEN, JERRY                   EQUITYBUILD             PAYROLL
                                                                                                                                              PARTIAL REPAY KINGSTON 
1/8/2015                                             10,000.00         (432,689.81)           TIKKUN                  EQUITYBUILD             BAL 90K
1/9/2015                                                   323.22         (433,013.03)        COHEN, JERRY            EQUITYBUILD             PAYROLL
1/13/2015                    50,000.00                                    (383,013.03)        EQUITYBUILD             TIKKUN                  LOAN
1/14/2015                                              6,500.00         (389,513.03)          COHEN, JERRY            EQUITYBUILD
1/14/2015                    50,000.00                                    (339,513.03)        EQUITYBUILD             TIKKUN                  LOAN
1/23/2015                                              1,000.00         (340,513.03)          COHEN, JERRY            EQUITYBUILD
1/23/2015                                              2,000.00         (342,513.03)          TIKKUN                  EQUITYBUILD             EBF COMMISSION
                                                                                                                                              SHORT TERM LOAN TO CLOSE 
1/27/2015                  200,000.00                                     (142,513.03) EQUITYBUILD                    TIKKUN                  5201 WASHINGTON
1/29/2015                                                1,000.00         (143,513.03) COHEN, JERRY                   EQUITYBUILD
                                                                                                                                              REPAYMENT OF 
1/29/2015                                            200,000.00         (343,513.03) TIKKUN                           EQUITYBUILD             WASHINGTON PURCHASE
                                                                                                                                              TRANSACTION LOAN BUY 
1/30/2015                    17,460.00                                        (326,053.03) EQUITYBUILD                TIKKUN                  2736 64TH
                                                                                                                                              REMAINDER TRANSACTION 
1/30/2015                  157,139.90                                     (168,913.13)        EQUITYBUILD             TIKKUN                  LOAN 64TH
2/2/2015                                                 6,000.00         (174,913.13)        COHEN, JERRY            EQUITYBUILD
2/5/2015                                                 1,385.25         (176,298.38)        COHEN, JERRY            EQUITYBUILD             PAYROLL
2/10/2015                                                1,500.00         (177,798.38)        COHEN, JERRY            EQUITYBUILD
                                                                                                                                              NICKAL ENTERPRISES 
2/12/2015                    17,163.52                                        (160,634.86) EQUITYBUILD                TIKKUN                  BUYOUT
                                                                                                                                              3400 NEWKIRK TRUST NICKAL 
2/12/2015                    19,336.48                                    (141,298.38)        EQUITYBUILD             TIKKUN ‐ 401K ACCT      ON WOOD BO
2/13/2015                                                5,500.00         (146,798.38)        COHEN, JERRY            EQUITYBUILD             OWNER DRAW
2/13/2015                                                1,000.00         (147,798.38)        COHEN, JERRY            EQUITYBUILD             OWNER DRAW
2/19/2015                                                1,000.00         (148,798.38)        COHEN, JERRY            EQUITYBUILD
                                                                                                                                              LOAN TO PAY LB UNIT 
2/19/2015                    25,000.00                                    (123,798.38)        EQUITYBUILD             TIKKUN                  WASHINGTON WIRE POSTS
2/19/2015                                              25,000.00         (148,798.38)         TIKKUN                  EQUITYBUILD             REPAY LOAN TO PAY LB
2/19/2015                                                4,500.00         (153,298.38)        TIKKUN                  EQUITYBUILD             EBF COMMISSION
2/20/2015                                                1,000.00         (154,298.38)        COHEN, JERRY            EQUITYBUILD
                                                                                                                                              PARTIAL REPAY LOAN 
2/23/2015                                              70,000.00         (224,298.38) TIKKUN                          EQUITYBUILD             BALANCE $300K
2/24/2015                                                1,500.00         (225,798.38) COHEN, JERRY                   EQUITYBUILD             OWNER DRAW
                                                                                                                                              PARTIAL LOAN REPAY BAL 
2/26/2015                                              10,000.00         (235,798.38) TIKKUN                          EQUITYBUILD             290K
2/27/2015                                                6,000.00         (241,798.38) COHEN, JERRY                   EQUITYBUILD             OWNER DRAW
3/4/2015                                                 1,385.25         (243,183.63) COHEN, JERRY                   EQUITYBUILD             PAYROLL
                                                                                                                                              PARTIAL REPAY LOAN 
 3/6/2015                                              10,000.00         (253,183.63) TIKKUN                          EQUITYBUILD             BALANCE $280K
 3/9/2015                                                2,000.00         (255,183.63) COHEN, JERRY                   EQUITYBUILD             OWNER DRAW
                                                                                                                                              PARTIAL REPAY LOAN 
 3/9/2015                                              10,000.00         (265,183.63) TIKKUN                          EQUITYBUILD             BALANCE $270K




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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE         AND TIKKUN      AND TIKKUN                 BALANCE                   PAYEE                                        PAYOR             NOTES
3/11/2015                                  4,000.00         (269,183.63) COHEN, JERRY                              EQUITYBUILD           OWNER DRAW
                                                                                                                                         PARTIAL REPAY LOAN 
3/11/2015                                            10,000.00         (279,183.63) TIKKUN                         EQUITYBUILD           BALANCE $260K
3/18/2015                                              4,000.00         (283,183.63) COHEN, JERRY                  EQUITYBUILD           OWNER DRAW
                                                                                                                                         PARTIAL REPAY LOAN 
3/20/2015                                            40,000.00         (323,183.63) TIKKUN                         EQUITYBUILD           BALANCE $220K
3/25/2015                                              4,000.00         (327,183.63) COHEN, JERRY                  EQUITYBUILD           OWNER DRAW
                                                                                                                                         PARTIAL REPAY LOAN 
3/26/2015                                            20,000.00              (347,183.63)   TIKKUN                  EQUITYBUILD           BALANCE $200K
4/1/2015                                               4,000.00             (351,183.63)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
4/2/2015                                               4,900.00             (356,083.63)   TIKKUN                  EQUITYBUILD           COMMISSION FROM EBF
4/6/2015                                               1,385.25             (357,468.88)   COHEN, JERRY            EQUITYBUILD           PAYROLL
4/8/2015                                               4,000.00             (361,468.88)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
                                                                                                                                         LOAN TO PURCHASE 
4/9/2015                  300,000.00                                      (61,468.88)      EQUITYBUILD             TIKKUN                MARQUETTE
4/9/2015                                           100,000.00         (161,468.88)         TIKKUN                  EQUITYBUILD           PARTIAL REPAY BAL 400000
4/16/2015                                              4,000.00         (165,468.88)       COHEN, JERRY            EQUITYBUILD           OWNER DRAW
4/22/2015                                              4,000.00         (169,468.88)       COHEN, JERRY            EQUITYBUILD           OWNER DRAW
                                                                                                                                         REIMBURSEMENT FO USE OF 
4/22/2015                                              8,344.04         (177,812.92) TIKKUN                        EQUITYBUILD           JC CARD
                                                                                                                                         REIMBURSE JC CREDIT CARD 
4/27/2015                                              4,064.42             (181,877.34)   TIKKUN                  EQUITYBUILD           USAGE
4/29/2015                                              4,000.00             (185,877.34)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
4/29/2015                                            25,000.00              (210,877.34)   TIKKUN                  EQUITYBUILD           PARTIAL REPAY BAL 400000
4/30/2015                                            10,133.58              (221,010.92)   TIKKUN                  EQUITYBUILD
                                                                                                                                         REIMBURSE HOME DEPOT 
5/4/2015                                               6,958.24         (227,969.16) TIKKUN                        EQUITYBUILD           LOAN
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/4/2015                                               3,945.29         (231,914.45) TIKKUN                        EQUITYBUILD           ON JC CARD
5/5/2015                                               1,385.25         (233,299.70) COHEN, JERRY                  EQUITYBUILD           PAYROLL
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/5/2015                                               3,774.36         (237,074.06) TIKKUN                        EQUITYBUILD           ON JC CARD
5/5/2015                                               1,800.00         (238,874.06) TIKKUN                        EQUITYBUILD
5/6/2015                                               4,000.00         (242,874.06) COHEN, JERRY                  EQUITYBUILD           OWNER DRAW
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/6/2015                                               1,404.47         (244,278.53) TIKKUN                        EQUITYBUILD           ON JC CARD
5/6/2015                                             25,000.00         (269,278.53) TIKKUN                         EQUITYBUILD
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/7/2015                                               5,128.83         (274,407.36) TIKKUN                        EQUITYBUILD           ON JC CARD
5/7/2015                                             25,000.00         (299,407.36) TIKKUN                         EQUITYBUILD
5/8/2015                                             25,000.00         (324,407.36) TIKKUN                         EQUITYBUILD
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/12/2015                                              4,056.65         (328,464.01) TIKKUN                        EQUITYBUILD           ON JC CARD
5/13/2015                                              4,000.00         (332,464.01) COHEN, JERRY                  EQUITYBUILD           OWNER DRAW
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/14/2015                                              3,112.10         (335,576.11) TIKKUN                        EQUITYBUILD           ON JC CARD
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/14/2015                                                  718.68         (336,294.79) TIKKUN                      EQUITYBUILD           ON JC CARD
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/15/2015                                              1,707.95         (338,002.74) TIKKUN                        EQUITYBUILD           ON JC CARD
5/15/2015                                            22,650.00         (360,652.74) TIKKUN                         EQUITYBUILD
                                                                                                                                         REIMBURSE EXPENSES PUT 
5/19/2015                                              7,233.93             (367,886.67)   TIKKUN                  EQUITYBUILD           ON JC CARD
5/19/2015                                            25,000.00              (392,886.67)   TIKKUN                  EQUITYBUILD
5/20/2015                                              4,000.00             (396,886.67)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
5/20/2015                                                  750.00           (397,636.67)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
5/20/2015                                                  750.00           (398,386.67)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
5/27/2015                                              4,000.00             (402,386.67)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
5/28/2015                                            25,000.00              (427,386.67)   TIKKUN                  EQUITYBUILD
6/3/2015                                               4,000.00             (431,386.67)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
6/5/2015                                               1,385.25             (432,771.92)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
6/5/2015                                             25,000.00              (457,771.92)   TIKKUN                  EQUITYBUILD
6/8/2015                                             17,550.00              (475,321.92)   TIKKUN                  EQUITYBUILD
6/10/2015                                              4,000.00             (479,321.92)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
6/12/2015                                            49,175.00              (528,496.92)   TIKKUN                  EQUITYBUILD           7616 PHILLIPS COMMISSION
6/12/2015                                            10,000.00              (538,496.92)   TIKKUN                  EQUITYBUILD
6/17/2015                                              4,000.00             (542,496.92)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
6/22/2015                                                  900.00           (543,396.92)   COHEN, JERRY            EQUITYBUILD           OWNER DRAW
6/22/2015                                            25,000.00              (568,396.92)   TIKKUN                  EQUITYBUILD




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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
  DATE          AND TIKKUN    AND TIKKUN                                 BALANCE                        PAYEE                       PAYOR             NOTES
                                                                                                                                            REIMBURSE EXPENSES PUT 
6/23/2015                                               3,034.75              (571,431.67)   TIKKUN                  EQUITYBUILD            ON JC CARD
6/24/2015                                               4,000.00              (575,431.67)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
6/24/2015                                             10,000.00               (585,431.67)   TIKKUN                  EQUITYBUILD FINANCE    COMMISSION FROM EBF
6/30/2015                                               3,500.00              (588,931.67)   COHEN, JERRY            EQUITYBUILD            LOAN
7/1/2015                                                4,000.00              (592,931.67)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
                                                                                                                                            REIMBURSE EXPENSES PUT 
7/7/2015                                                      39.80           (592,971.47)   TIKKUN                  EQUITYBUILD            ON JC CARD
7/7/2015                                              25,000.00               (617,971.47)   TIKKUN                  EQUITYBUILD
7/8/2015                                                4,000.00              (621,971.47)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
7/8/2015                                                9,335.00              (631,306.47)   TIKKUN                  EQUITYBUILD
7/15/2015                                               4,000.00              (635,306.47)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
7/17/2015                                               1,385.25              (636,691.72)   COHEN, JERRY            EQUITYBUILD            PAYROLL
7/22/2015                                               4,000.00              (640,691.72)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
7/23/2015                                               4,401.42              (645,093.14)   TIKKUN                  EQUITYBUILD            EBF COMMISSION
7/29/2015                                               4,000.00              (649,093.14)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
7/29/2015                                               3,500.00              (652,593.14)   COHEN, JERRY            EQUITYBUILD            LOAN
8/3/2015                                                4,500.00              (657,093.14)   TIKKUN                  EQUITYBUILD
8/3/2015                    50,000.00                                         (607,093.14)   EQUITYBUILD             TIKKUN
8/3/2015                                              50,000.00               (657,093.14)   TIKKUN                  EQUITYBUILD
8/4/2015                                                    750.00            (657,843.14)   TIKKUN                  EQUITYBUILD
8/4/2015                                                      39.95           (657,883.09)   TIKKUN                  EQUITYBUILD
8/5/2015                                                4,000.00              (661,883.09)   COHEN, JERRY            EQUITYBUILD            OWNER DRAW
8/14/2015                   50,000.00                                         (611,883.09)   EQUITYBUILD             TIKKUN
                                                                                                                                            REIMBURSE LOAN TO COVER 
8/14/2015                                             50,000.00         (661,883.09) TIKKUN                          EQUITYBUILD            EXPENSES
8/17/2015                                               1,385.25         (663,268.34) COHEN, JERRY                   EQUITYBUILD            PAYROLL
8/19/2015                                               4,000.00         (667,268.34) COHEN, JERRY                   EQUITYBUILD            OWNER DRAW
                                                                                                                                            EBF CONSULT FEE AND SC 
8/21/2015                                             15,779.50         (683,047.84) TIKKUN                          EQUITYBUILD            REPAY OF $2500
8/24/2015                                             10,000.00         (693,047.84) TIKKUN                          EQUITYBUILD
                                                                                                                                            WIRE TRANSFER TO 
                                                                                                                                            PACCHIANA, PAUL FOR 
                                                                                                                                            PURCHSE OF HOME AT 1050 
8/25/2015                                        134,279.07         (827,326.91)             COHEN, JERRY            EQUITYBUILD            8TH AVE NORTH
8/25/2015                 134,279.07                                    (693,047.84)         EQUITYBUILD             TIKKUN
8/25/2015                                            5,000.00         (698,047.84)           TIKKUN                  EQUITYBUILD
8/26/2015                                            4,000.00         (702,047.84)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
8/31/2015                                            3,500.00         (705,547.84)           COHEN, JERRY            EQUITYBUILD            LOAN
8/31/2015                                                750.00         (706,297.84)         TIKKUN                  EQUITYBUILD
 9/2/2015                                            4,000.00         (710,297.84)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
 9/4/2015                                          10,000.00         (720,297.84)            TIKKUN                  EQUITYBUILD
 9/9/2015                                            4,000.00         (724,297.84)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
9/16/2015                                            4,000.00         (728,297.84)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
9/17/2015                 150,000.00                                    (578,297.84)         EQUITYBUILD             TIKKUN
9/17/2015                                          50,000.00         (628,297.84)            TIKKUN                  EQUITYBUILD
9/23/2015                                            4,000.00         (632,297.84)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
9/30/2015                                            4,000.00         (636,297.84)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
9/30/2015                                            3,500.00         (639,797.84)           COHEN, JERRY            EQUITYBUILD            LOAN
9/30/2015                                          50,000.00         (689,797.84)            TIKKUN                  EQUITYBUILD
10/6/2015                                            1,385.25         (691,183.09)           COHEN, JERRY            EQUITYBUILD            PAYROLL
10/7/2015                                            4,000.00         (695,183.09)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
10/7/2015                                          25,000.00         (720,183.09)            TIKKUN                  EQUITYBUILD
10/13/2015                                           1,500.00         (721,683.09)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
10/14/2015                                           4,000.00         (725,683.09)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
10/21/2015                                           4,000.00         (729,683.09)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
10/21/2015                                               704.20         (730,387.29)         COHEN, JERRY            EQUITYBUILD            OWNER DRAW
10/22/2015                                           6,628.50         (737,015.79)           TIKKUN                  EQUITYBUILD FINANCE    COMMISSION FROM EBF
10/28/2015                                           4,000.00         (741,015.79)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
10/29/2015                                           3,500.00         (744,515.79)           COHEN, JERRY            EQUITYBUILD            LOAN
10/30/2015                                               750.00         (745,265.79)         TIKKUN                  EQUITYBUILD FINANCE
11/4/2015                                            4,000.00         (749,265.79)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
11/4/2015                                            1,385.25         (750,651.04)           COHEN, JERRY            EQUITYBUILD            PAYROLL
11/6/2015                                            1,500.00         (752,151.04)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
11/10/2015                                           4,000.00         (756,151.04)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
11/17/2015                                         25,000.00         (781,151.04)            TIKKUN                  EQUITYBUILD
11/18/2015                                           4,325.00         (785,476.04)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
11/18/2015                                           1,000.00         (786,476.04)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW
11/19/2015                                         50,000.00         (836,476.04)            TIKKUN                  EQUITYBUILD
11/24/2015                                           4,325.00         (840,801.04)           COHEN, JERRY            EQUITYBUILD            OWNER DRAW




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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
   DATE         AND TIKKUN      AND TIKKUN                                  BALANCE                     PAYEE                        PAYOR             NOTES
11/24/2015                                  1,200.00                          (842,001.04)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
11/24/2015                                10,000.00                           (852,001.04)   TIKKUN                  EQUITYBUILD             PARTIAL REPAY BAL $320317
11/30/2015                                  3,500.00                          (855,501.04)   COHEN, JERRY            EQUITYBUILD             LOAN
11/30/2015                                      750.00                        (856,251.04)   TIKKUN                  EQUITYBUILD FINANCE
                                                                                                                                             REIMBURSE PHONE AND ADS 
12/1/2015                                                   816.49            (857,067.53)   TIKKUN                  EQUITYBUILD             PAID FOR EB BY TH
12/2/2015                                               4,325.00              (861,392.53)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/4/2015                                               1,385.25              (862,777.78)   COHEN, JERRY            EQUITYBUILD             PAYROLL
12/9/2015                                               4,325.00              (867,102.78)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/14/2015                                              2,000.00              (869,102.78)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/15/2015                                                  500.00            (869,602.78)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/16/2015                                              4,325.00              (873,927.78)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/16/2015                                                  500.00            (874,427.78)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/22/2015                                              4,325.00              (878,752.78)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE PHONE AND ADS 
12/28/2015                                                  274.37            (879,027.15)   TIKKUN                  EQUITYBUILD             PAID FOR EB BY TH
12/29/2015                                              4,325.00              (883,352.15)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/29/2015                                              3,500.00              (886,852.15)   COHEN, JERRY            EQUITYBUILD             LOAN
 1/4/2016                                                   750.00            (887,602.15)   TIKKUN                  EQUITYBUILD FINANCE
 1/5/2016                                               1,100.00              (888,702.15)   TIKKUN                  EQUITYBUILD FINANCE
 1/6/2016                                               4,825.00              (893,527.15)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
 1/7/2016                                             10,000.00               (903,527.15)   TIKKUN                  EQUITYBUILD
 1/8/2016                                               1,385.25              (904,912.40)   COHEN, JERRY            EQUITYBUILD             PAYROLL
1/13/2016                                               4,825.00              (909,737.40)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
1/13/2016                                             10,000.00               (919,737.40)   TIKKUN                  EQUITYBUILD
                                                                                                                                             REIMBURSE PHONE AND ADS 
1/19/2016                                                   114.80            (919,852.20)   TIKKUN                  EQUITYBUILD             PAID FOR EB BY TH
1/20/2016                                               4,825.00              (924,677.20)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
1/26/2016                                             10,000.00               (934,677.20)   TIKKUN                  EQUITYBUILD
1/27/2016                                               4,825.00              (939,502.20)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
1/28/2016                                                   750.00            (940,252.20)   TIKKUN                  EQUITYBUILD FINANCE
1/28/2016                                                     65.19           (940,317.39)   TIKKUN                  EQUITYBUILD             REIMBURSE RING CENTRAL
1/29/2016                                               3,500.00              (943,817.39)   COHEN, JERRY            EQUITYBUILD             LOAN
2/2/2016                                                    100.00            (943,917.39)   TIKKUN                  EQUITYBUILD FINANCE
2/3/2016                                                4,825.00              (948,742.39)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
2/5/2016                                                1,385.25              (950,127.64)   COHEN, JERRY            EQUITYBUILD             PAYROLL
2/10/2016                                               4,825.00              (954,952.64)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
2/16/2016                                               1,000.00              (955,952.64)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE PHONE AND ADS 
2/16/2016                                                   114.80            (956,067.44)   TIKKUN                  EQUITYBUILD             PAID FOR EB BY TH
2/17/2016                                               4,825.00              (960,892.44)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
2/18/2016                                             10,000.00               (970,892.44)   TIKKUN                  EQUITYBUILD
2/24/2016                                               4,825.00              (975,717.44)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
2/29/2016                                               3,500.00              (979,217.44)   COHEN, JERRY            EQUITYBUILD             LOAN
3/1/2016                                            114,000.00             (1,093,217.44)    TIKKUN                  EQUITYBUILD
3/1/2016                                                    850.00         (1,094,067.44)    TIKKUN                  EQUITYBUILD FINANCE
3/1/2016                   114,000.00                                         (980,067.44)   EQUITYBUILD             TIKKUN
3/2/2016                                                4,825.00              (984,892.44)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
3/2/2016                   100,000.00                                         (884,892.44)   EQUITYBUILD             TIKKUN
3/2/2016                                                2,000.00              (886,892.44)   TIKKUN                  EQUITYBUILD
3/3/2016                                              50,000.00               (936,892.44)   TIKKUN                  EQUITYBUILD
3/3/2016                                              50,000.00               (986,892.44)   TIKKUN                  EQUITYBUILD
3/7/2016                                                1,385.25              (988,277.69)   COHEN, JERRY            EQUITYBUILD             PAYROLL
3/9/2016                                                4,825.00              (993,102.69)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE EXPENSES PUT 
3/11/2016                                                   192.00         (993,294.69) TIKKUN                       EQUITYBUILD             ON JC CARD
3/16/2016                                               4,825.00         (998,119.69) COHEN, JERRY                   EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE PHONE AND ADS 
3/21/2016                                                   114.80            (998,234.49)   TIKKUN                  EQUITYBUILD             PAID FOR EB BY TH
3/23/2016                                               4,825.00           (1,003,059.49)    COHEN, JERRY            EQUITYBUILD             OWNER DRAW
3/24/2016                                               5,000.00           (1,008,059.49)    TIKKUN                  EQUITYBUILD
3/30/2016                                             13,000.00            (1,021,059.49)    TIKKUN                  EQUITYBUILD
3/31/2016                                                   850.00         (1,021,909.49)    TIKKUN                  EQUITYBUILD FINANCE
                                                                                                                                             REIMBURSE EXPENSES PUT 
3/31/2016                                                   173.79      (1,022,083.28) TIKKUN                        EQUITYBUILD             ON THE CARD
4/1/2016                                                4,825.00      (1,026,908.28) COHEN, JERRY                    EQUITYBUILD             OWNER DRAW
4/1/2016                                                3,500.00      (1,030,408.28) COHEN, JERRY                    EQUITYBUILD             LOAN
                                                                                                                                             FAILED DIRECT PAY 
 4/1/2016                                               4,850.00      (1,035,258.28) COHEN, JERRY                    EQUITYBUILD             REPLACEMENT
 4/6/2016                                               4,825.00      (1,040,083.28) COHEN, JERRY                    EQUITYBUILD             OWNER DRAW




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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE         AND TIKKUN      AND TIKKUN                 BALANCE                  PAYEE                                             PAYOR             NOTES
4/6/2016                                   1,385.25      (1,041,468.53) COHEN, JERRY                                 EQUITYBUILD             PAYROLL
4/12/2016                                22,551.50      (1,064,020.03) TIKKUN                                        EQUITYBUILD FINANCE     COMMISSION FROM EBF
4/12/2016                                38,237.50      (1,102,257.53) TIKKUN                                        EQUITYBUILD FINANCE     EBF COMMISSION
                                                                                                                                             REIMBURSE EXPENSES PUT 
4/12/2016                                                      56.97      (1,102,314.50) TIKKUN                      EQUITYBUILD             ON THE CARD
4/13/2016                                                4,825.00      (1,107,139.50) COHEN, JERRY                   EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE EXPENSES PUT 
4/14/2016                                                    114.80         (1,107,254.30)   TIKKUN                  EQUITYBUILD             ON THE CARD
4/19/2016                                                1,750.00           (1,109,004.30)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
4/20/2016                                                4,825.00           (1,113,829.30)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
4/27/2016                                                4,825.00           (1,118,654.30)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
4/27/2016                                              23,087.23            (1,141,741.53)   TIKKUN                  EQUITYBUILD FINANCE     COMMISSION FROM EBF
4/28/2016                                                3,500.00           (1,145,241.53)   COHEN, JERRY            EQUITYBUILD             LOAN
                                                                                                                                             REIMBURSE EXPENSES PUT 
4/28/2016                                                    232.46         (1,145,473.99)   TIKKUN                  EQUITYBUILD             ON THE CARD
5/3/2016                                                 1,000.00           (1,146,473.99)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
5/3/2016                                                     850.00         (1,147,323.99)   TIKKUN                  EQUITYBUILD FINANCE     ACCT 5298
5/4/2016                                                 4,825.00           (1,152,148.99)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
5/5/2016                                                 1,385.25           (1,153,534.24)   COHEN, JERRY            EQUITYBUILD             PAYROLL
5/9/2016                                                 5,000.00           (1,158,534.24)   TIKKUN                  EQUITYBUILD
5/11/2016                                                4,825.00           (1,163,359.24)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE EXPENSES PUT 
5/11/2016                                                      39.80      (1,163,399.04) TIKKUN                      EQUITYBUILD             ON THE CARD
5/13/2016                                                5,000.00      (1,168,399.04) TIKKUN                         EQUITYBUILD
5/16/2016                                                    500.00      (1,168,899.04) COHEN, JERRY                 EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE EXPENSES PUT 
5/17/2016                                                      75.00        (1,168,974.04)   TIKKUN                  EQUITYBUILD             ON THE CARD
5/18/2016                                                4,825.00           (1,173,799.04)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
5/20/2016                                              25,000.00            (1,198,799.04)   TIKKUN                  EQUITYBUILD FINANCE     COMMISSION FROM EBF
5/25/2016                                                4,825.00           (1,203,624.04)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
5/25/2016                                                    500.00         (1,204,124.04)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
5/31/2016                                                3,500.00           (1,207,624.04)   COHEN, JERRY            EQUITYBUILD             LOAN
6/1/2016                                                 4,825.00           (1,212,449.04)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
6/6/2016                                                 1,385.25           (1,213,834.29)   COHEN, JERRY            EQUITYBUILD             PAYROLL
6/7/2016                                                 7,317.00           (1,221,151.29)   TIKKUN                  EQUITYBUILD
6/8/2016                                                 4,825.00           (1,225,976.29)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE EXPENSES PUT 
6/8/2016                                                       39.80      (1,226,016.09) TIKKUN                      EQUITYBUILD             ON THE CARD
6/8/2016                                                 5,000.00      (1,231,016.09) TIKKUN                         EQUITYBUILD
6/8/2016                                                 5,000.00      (1,236,016.09) TIKKUN                         EQUITYBUILD
                                                                                                                                             REIMBURSE EXPENSES PUT 
6/14/2016                                                      75.00        (1,236,091.09)   TIKKUN                  EQUITYBUILD             ON THE CARD
6/15/2016                                                6,025.00           (1,242,116.09)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
6/22/2016                                                6,025.00           (1,248,141.09)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
6/29/2016                                                6,025.00           (1,254,166.09)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
6/29/2016                                                3,500.00           (1,257,666.09)   COHEN, JERRY            EQUITYBUILD             LOAN
6/29/2016                                                5,000.00           (1,262,666.09)   TIKKUN                  EQUITYBUILD
7/1/2016                                               15,000.00            (1,277,666.09)   TIKKUN                  EQUITYBUILD
7/6/2016                                                 6,025.00           (1,283,691.09)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
7/7/2016                                               10,000.00            (1,293,691.09)   TIKKUN                  EQUITYBUILD
                                                                                                                                             REIMBURSE EXPENSES PUT 
7/11/2016                                                      38.80      (1,293,729.89) TIKKUN                      EQUITYBUILD             ON THE CARD
7/12/2016                                                1,385.25      (1,295,115.14) COHEN, JERRY                   EQUITYBUILD             PAYROLL
                                                                                                                                             CHERRYWOOD REFUND 
7/13/2016                     1,350.00                                      (1,293,765.14)   EQUITYBUILD             COHEN, JERRY            MADE PAYABLE TO JC
7/13/2016                                                8,049.25           (1,301,814.39)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
7/13/2016                                                7,500.00           (1,309,314.39)   TIKKUN                  EQUITYBUILD
7/13/2016                                                5,000.00           (1,314,314.39)   TIKKUN                  EQUITYBUILD
7/15/2016                                              22,500.00            (1,336,814.39)   TIKKUN                  EQUITYBUILD
7/15/2016                                                      75.00        (1,336,889.39)   TIKKUN                  EQUITYBUILD
7/20/2016                                                8,049.25           (1,344,938.64)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE DAWGS 
7/26/2016                                                    153.69         (1,345,092.33)   TIKKUN                  EQUITYBUILD             PAYMENT ON THE CARD
7/27/2016                                                8,049.25           (1,353,141.58)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
7/29/2016                                                3,500.00           (1,356,641.58)   COHEN, JERRY            EQUITYBUILD             LOAN
8/3/2016                                                 8,049.25           (1,364,690.83)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
                                                                                                                                             REIMBURSE EXPENSES PUT 
8/3/2016                                                       39.80      (1,364,730.63) TIKKUN                      EQUITYBUILD             ON THE CARD
8/3/2016                                               10,000.00      (1,374,730.63) TIKKUN                          EQUITYBUILD
8/10/2016                                                8,049.25      (1,382,779.88) COHEN, JERRY                   EQUITYBUILD             OWNER DRAW




                                                                                                            Page 8
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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
  DATE          AND TIKKUN      AND TIKKUN                                   BALANCE                    PAYEE                        PAYOR           NOTES
8/11/2016                                   1,385.25                        (1,384,165.13)   COHEN, JERRY            EQUITYBUILD             PAYROLL
8/17/2016                                   8,049.25                        (1,392,214.38)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
8/24/2016                                   8,049.25                        (1,400,263.63)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
8/31/2016                                   3,500.00                        (1,403,763.63)   COHEN, JERRY            EQUITYBUILD             LOAN
8/31/2016                                   8,049.25                        (1,411,812.88)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
8/31/2016                                   2,000.00                        (1,413,812.88)   TIKKUN                  EQUITYBUILD
9/1/2016                                        850.00                      (1,414,662.88)   TIKKUN                  EQUITYBUILD FINANCE     ACCT 5298
                                                                                                                                             REIMBURSE DAWGS LIVE 
9/1/2016                                                    268.49          (1,414,931.37)   TIKKUN                  EQUITYBUILD             CAREER AND FOTILIO
9/7/2016                                                8,049.25            (1,422,980.62)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
9/7/2016                                                1,000.00            (1,423,980.62)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
9/13/2016                                               1,200.00            (1,425,180.62)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
9/14/2016                                               8,049.25            (1,433,229.87)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
9/21/2016                                               8,049.25            (1,441,279.12)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
9/21/2016                                               2,000.00            (1,443,279.12)   TIKKUN                  EQUITYBUILD
                                                                                                                                             REIMBURSE EXPENSES PUT 
9/26/2016                                                     75.00         (1,443,354.12)   TIKKUN                  EQUITYBUILD             ON THE CARD
9/28/2016                                               8,049.25            (1,451,403.37)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
9/28/2016                                               3,500.00            (1,454,903.37)   COHEN, JERRY            EQUITYBUILD             LOAN
9/29/2016                                                   850.00          (1,455,753.37)   TIKKUN                  EQUITYBUILD FINANCE     ACCT 5298
                                                                                                                                             REIMBURSE EXPENSES PUT 
9/29/2016                                                       7.00        (1,455,760.37)   TIKKUN                  EQUITYBUILD             ON THE CARD
10/5/2016                                               8,049.25            (1,463,809.62)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
10/6/2016                                               4,000.00            (1,467,809.62)   TIKKUN                  EQUITYBUILD
10/12/2016                                              8,049.25            (1,475,858.87)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
10/13/2016                                              5,000.00            (1,480,858.87)   TIKKUN                  EQUITYBUILD
10/14/2016                                              1,346.02            (1,482,204.89)   COHEN, JERRY            EQUITYBUILD             PAYROLL
10/19/2016                                              8,049.25            (1,490,254.14)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
10/19/2016                                              5,000.00            (1,495,254.14)   TIKKUN                  EQUITYBUILD
10/20/2016                                              5,000.00            (1,500,254.14)   TIKKUN                  EQUITYBUILD
10/21/2016                                              5,000.00            (1,505,254.14)   TIKKUN                  EQUITYBUILD
10/26/2016                                              8,049.25            (1,513,303.39)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
10/28/2016                                            69,900.00             (1,583,203.39)   TIKKUN                  EQUITYBUILD
10/28/2016                  69,600.00                                       (1,513,603.39)   EQUITYBUILD             TIKKUN
10/28/2016                                              2,500.00            (1,516,103.39)   TIKKUN                  EQUITYBUILD
10/31/2016                                              3,500.00            (1,519,603.39)   COHEN, JERRY            EQUITYBUILD             LOAN
11/2/2016                                               8,049.25            (1,527,652.64)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
11/2/2016                                               5,000.00            (1,532,652.64)   TIKKUN                  EQUITYBUILD
11/8/2016                                               8,049.25            (1,540,701.89)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
11/10/2016                                              1,346.02            (1,542,047.91)   COHEN, JERRY            EQUITYBUILD             PAYROLL
11/15/2016                                              5,000.00            (1,547,047.91)   TIKKUN                  EQUITYBUILD
11/16/2016                                              8,049.25            (1,555,097.16)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
11/17/2016                                              5,000.00            (1,560,097.16)   TIKKUN                  EQUITYBUILD
11/21/2016                                              5,000.00            (1,565,097.16)   TIKKUN                  EQUITYBUILD
11/21/2016                                              2,000.00            (1,567,097.16)   TIKKUN                  EQUITYBUILD
11/22/2016                                              8,049.25            (1,575,146.41)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
11/29/2016                                              5,000.00            (1,580,146.41)   TIKKUN                  EQUITYBUILD
11/30/2016                                              3,500.00            (1,583,646.41)   COHEN, JERRY            EQUITYBUILD             LOAN
11/30/2016                                              8,049.25            (1,591,695.66)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/5/2016                                               3,000.00            (1,594,695.66)   TIKKUN                  EQUITYBUILD
12/7/2016                                               8,049.25            (1,602,744.91)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/7/2016                                                   850.00          (1,603,594.91)   TIKKUN                  EQUITYBUILD FINANCE
12/9/2016                                                   639.35          (1,604,234.26)   COHEN, JERRY            EQUITYBUILD             PAYROLL
12/12/2016                                              2,000.00            (1,606,234.26)   TIKKUN                  EQUITYBUILD
12/14/2016                                              8,049.25            (1,614,283.51)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/16/2016                                              5,000.00            (1,619,283.51)   TIKKUN                  EQUITYBUILD
12/20/2016                                              5,000.00            (1,624,283.51)   TIKKUN                  EQUITYBUILD
12/21/2016                                              8,049.25            (1,632,332.76)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/21/2016                                              1,000.00            (1,633,332.76)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/23/2016                                                  639.34          (1,633,972.10)   COHEN, JERRY            EQUITYBUILD             PAYROLL
12/23/2016                                              2,000.00            (1,635,972.10)   TIKKUN                  EQUITYBUILD
12/28/2016                                              8,049.25            (1,644,021.35)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
12/28/2016                                              3,500.00            (1,647,521.35)   COHEN, JERRY            EQUITYBUILD             LOAN
12/28/2016                                              2,000.00            (1,649,521.35)   TIKKUN                  EQUITYBUILD
 1/3/2017                                               1,500.00            (1,651,021.35)   TIKKUN                  EQUITYBUILD
 1/4/2017                                               8,049.25            (1,659,070.60)   COHEN, JERRY            EQUITYBUILD             OWNER DRAW
 1/4/2017                                               4,500.00            (1,663,570.60)   TIKKUN                  EQUITYBUILD
 1/5/2017                                               2,000.00            (1,665,570.60)   TIKKUN                  EQUITYBUILD
 1/6/2017                                                   639.35          (1,666,209.95)   COHEN, JERRY            EQUITYBUILD             PAYROLL
 1/9/2017                                               4,000.00            (1,670,209.95)   TIKKUN                  EQUITYBUILD




                                                                                                            Page 9
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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE          AND TIKKUN               AND TIKKUN                       BALANCE                    PAYEE                   PAYOR           NOTES
1/11/2017                                            8,049.25            (1,678,259.20)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
1/12/2017                                            6,000.00            (1,684,259.20)   TIKKUN               EQUITYBUILD
1/18/2017                                            8,049.25            (1,692,308.45)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
1/18/2017                                            2,000.00            (1,694,308.45)   TIKKUN               EQUITYBUILD
1/20/2017                                                639.34          (1,694,947.79)   COHEN, JERRY         EQUITYBUILD           PAYROLL
1/20/2017                                            2,000.00            (1,696,947.79)   TIKKUN               EQUITYBUILD
1/23/2017                                            1,000.00            (1,697,947.79)   TIKKUN               EQUITYBUILD
1/23/2017                                            5,000.00            (1,702,947.79)   TIKKUN               EQUITYBUILD
1/25/2017                                            8,049.25            (1,710,997.04)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
1/27/2017                                            4,000.00            (1,714,997.04)   TIKKUN               EQUITYBUILD
1/31/2017                                            3,500.00            (1,718,497.04)   COHEN, JERRY         EQUITYBUILD           LOAN
2/1/2017                                             8,049.25            (1,726,546.29)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
2/1/2017                                             3,000.00            (1,729,546.29)   TIKKUN               EQUITYBUILD
2/3/2017                                                 639.35          (1,730,185.64)   COHEN, JERRY         EQUITYBUILD           PAYROLL
2/6/2017                                             3,000.00            (1,733,185.64)   TIKKUN               EQUITYBUILD
2/8/2017                                             8,049.25            (1,741,234.89)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
2/14/2017                                            1,500.00            (1,742,734.89)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
2/15/2017                                            8,049.25            (1,750,784.14)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
2/15/2017                                                750.00          (1,751,534.14)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
2/16/2017                                            2,000.00            (1,753,534.14)   TIKKUN               EQUITYBUILD
2/17/2017                                                639.36          (1,754,173.50)   COHEN, JERRY         EQUITYBUILD           PAYROLL
2/22/2017                                            8,049.25            (1,762,222.75)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
2/27/2017                                            2,000.00            (1,764,222.75)   TIKKUN               EQUITYBUILD
2/28/2017                                            3,500.00            (1,767,722.75)   COHEN, JERRY         EQUITYBUILD           LOAN
3/1/2017                                             8,049.25            (1,775,772.00)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
3/1/2017                                             2,000.00            (1,777,772.00)   TIKKUN               EQUITYBUILD
3/3/2017                                                 639.34          (1,778,411.34)   COHEN, JERRY         EQUITYBUILD           PAYROLL
3/7/2017                                             2,500.00            (1,780,911.34)   TIKKUN               EQUITYBUILD
3/8/2017                                             8,049.25            (1,788,960.59)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
3/15/2017                                            8,049.25            (1,797,009.84)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
3/17/2017                                                639.35          (1,797,649.19)   COHEN, JERRY         EQUITYBUILD           PAYROLL
3/22/2017                                            8,049.25            (1,805,698.44)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
3/22/2017                                            1,500.00            (1,807,198.44)   TIKKUN               EQUITYBUILD
3/29/2017                                            8,049.25            (1,815,247.69)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
3/29/2017                                            3,500.00            (1,818,747.69)   COHEN, JERRY         EQUITYBUILD           LOAN
3/31/2017                                                639.35          (1,819,387.04)   COHEN, JERRY         EQUITYBUILD           PAYROLL
3/31/2017                                                185.75          (1,819,572.79)   TIKKUN               EQUITYBUILD           REIMBURSE GODADDY
3/31/2017                                            4,000.00            (1,823,572.79)   TIKKUN               EQUITYBUILD
4/5/2017                                             8,049.25            (1,831,622.04)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
4/10/2017                                            1,000.00            (1,832,622.04)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
4/10/2017                  50,000.00                                     (1,782,622.04)   TIKKUN               EQUITYBUILD
4/12/2017                                            8,049.25            (1,790,671.29)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/12/2017                                            10,000.00      (1,800,671.29) TIKKUN                      EQUITYBUILD           BAL $40000
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/13/2017                                              5,000.00      (1,805,671.29) TIKKUN                     EQUITYBUILD           BAL $25000
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/13/2017                                            10,000.00      (1,815,671.29) TIKKUN                      EQUITYBUILD           BAL $30000
4/14/2017                                                  639.34      (1,816,310.63) COHEN, JERRY             EQUITYBUILD           PAYROLL
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/14/2017                                              5,000.00      (1,821,310.63) TIKKUN                     EQUITYBUILD           BAL $20000
4/19/2017                                              8,049.25      (1,829,359.88) COHEN, JERRY               EQUITYBUILD           OWNER DRAW
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/19/2017                                              5,000.00      (1,834,359.88) TIKKUN                     EQUITYBUILD           BAL $15000
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/20/2017                                              5,000.00      (1,839,359.88) TIKKUN                     EQUITYBUILD           BAL $5000
                                                                                                                                     PARTIAL REPAY OF LOAN 2 
4/20/2017                                              5,000.00      (1,844,359.88) TIKKUN                     EQUITYBUILD           BAL $10000
4/24/2017                500,000.00                                  (1,344,359.88) TIKKUN                     EQUITYBUILD
                                                                                                                                     PARTIAL REPAY ALL LOANS 
4/25/2017                                            50,000.00      (1,394,359.88) TIKKUN                      EQUITYBUILD           BAL $586000
4/26/2017                                              8,049.25      (1,402,409.13) COHEN, JERRY               EQUITYBUILD           OWNER DRAW
                                                                                                                                     ADD TO LOAN NEW BAL 
4/27/2017                  50,000.00                                     (1,352,409.13)   EQUITYBUILD          TIKKUN                $637000
4/28/2017                                              3,500.00          (1,355,909.13)   COHEN, JERRY         EQUITYBUILD           LOAN
5/3/2017                                               8,049.25          (1,363,958.38)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
5/9/2017                                               2,500.00          (1,366,458.38)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
5/10/2017                                              8,049.25          (1,374,507.63)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW
5/12/2017                                                  639.36        (1,375,146.99)   COHEN, JERRY         EQUITYBUILD           PAYROLL
5/17/2017                                              8,049.25          (1,383,196.24)   COHEN, JERRY         EQUITYBUILD           OWNER DRAW




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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE          AND TIKKUN               AND TIKKUN                         BALANCE                    PAYEE                      PAYOR             NOTES
5/24/2017                                            8,049.25              (1,391,245.49)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
5/26/2017                                                639.34            (1,391,884.83)   COHEN, JERRY           EQUITYBUILD            PAYROLL
5/31/2017                                            8,049.25              (1,399,934.08)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
5/31/2017                                            3,500.00              (1,403,434.08)   COHEN, JERRY           EQUITYBUILD            LOAN
6/2/2017                                         300,000.00                (1,703,434.08)   TIKKUN                 EQUITYBUILD            SINGER BUYOUT
6/7/2017                                             8,049.25              (1,711,483.33)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
6/7/2017                                             8,500.00              (1,719,983.33)   TIKKUN                 EQUITYBUILD            CHANG BUYOUT
6/9/2017                                                 639.35            (1,720,622.68)   COHEN, JERRY           EQUITYBUILD            PAYROLL
6/13/2017                                          60,000.00               (1,780,622.68)   TIKKUN                 EQUITYBUILD            PARTIAL REPAY BAL
6/14/2017                                            8,049.25              (1,788,671.93)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
6/14/2017                                          21,500.00               (1,810,171.93)   TIKKUN                 EQUITYBUILD            REPAY LOAN BAL
6/21/2017                                            8,049.25              (1,818,221.18)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
6/23/2017                                                639.35            (1,818,860.53)   COHEN, JERRY           EQUITYBUILD            PAYROLL
6/28/2017                                            8,049.25              (1,826,909.78)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
6/28/2017                                            3,500.00              (1,830,409.78)   COHEN, JERRY           EQUITYBUILD            LOAN
6/28/2017                  50,000.00                                       (1,780,409.78)   EQUITYBUILD FINANCE    TIKKUN                 LUTZ BUYOUT
7/5/2017                                             8,049.25              (1,788,459.03)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
7/5/2017                                           50,000.00               (1,838,459.03)   TIKKUN                 EQUITYBUILD            LUTZ BUYOUT
                                                                                                                                          TRANSACTION FEE LUTZ 
7/5/2017                                                 1,000.00          (1,839,459.03)   TIKKUN                 EQUITYBUILD            BUYOUT
7/7/2017                                                     639.34        (1,840,098.37)   COHEN, JERRY           EQUITYBUILD            PAYROLL
7/12/2017                                                8,049.25          (1,848,147.62)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
7/12/2017                                                1,000.00          (1,849,147.62)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
7/19/2017                                                8,049.25          (1,857,196.87)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
7/20/2017                 472,017.00                                       (1,385,179.87)   EQUITYBUILD FINANCE    TIKKUN                 481600 LOAN FROM TIKKUN
7/21/2017                                                    639.35        (1,385,819.22)   COHEN, JERRY           EQUITYBUILD            PAYROLL
7/26/2017                                                8,049.25          (1,393,868.47)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
7/31/2017                                                3,500.00          (1,397,368.47)   COHEN, JERRY           EQUITYBUILD            LOAN
8/2/2017                                                 8,049.25          (1,405,417.72)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
8/4/2017                                                     639.35        (1,406,057.07)   COHEN, JERRY           EQUITYBUILD            PAYROLL
                                                                                                                                          LOCKETT LOAN PLUS 
8/4/2017                                             102,000.00      (1,508,057.07) TIKKUN                         EQUITYBUILD            TRANSACTION FEE
8/9/2017                                                 8,049.25      (1,516,106.32) COHEN, JERRY                 EQUITYBUILD            OWNER DRAW
                                                                                                                                          2 PERCENT TRANSACTION 
8/14/2017                                                9,368.00          (1,525,474.32)   TIKKUN                 EQUITYBUILD            FEE ON CABROL LOAN
8/16/2017                                                8,049.25          (1,533,523.57)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
8/18/2017                                                    639.36        (1,534,162.93)   COHEN, JERRY           EQUITYBUILD            PAYROLL
8/23/2017                                                8,049.25          (1,542,212.18)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
8/30/2017                                                8,049.25          (1,550,261.43)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
8/30/2017                                                3,500.00          (1,553,761.43)   COHEN, JERRY           EQUITYBUILD            LOAN
9/1/2017                                                     639.34        (1,554,400.77)   COHEN, JERRY           EQUITYBUILD            PAYROLL
9/6/2017                                                 8,049.25          (1,562,450.02)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
                                                                                                                                          LOAN FROM TIKKUN FOR 
9/6/2017                    22,000.00                                      (1,540,450.02) EQUITYBUILD              TIKKUN                 NEWKIRK

9/13/2017                     2,500.00                                     (1,537,950.02) EQUITYBUILD              COHEN, JERRY           REIMBURSE DONATION WIRE
                                                                                                                                          WIRE TRANSFER TO TD 
9/13/2017                                            2,500.00      (1,540,450.02)           COHEN, JERRY           EQUITYBUILD            AMERITRADE CLEARING INC
9/13/2017                                            8,049.25      (1,548,499.27)           COHEN, JERRY           EQUITYBUILD            OWNER DRAW
9/15/2017                                                639.35      (1,549,138.62)         COHEN, JERRY           EQUITYBUILD            PAYROLL
9/18/2017                 900,000.00                                    (649,138.62)        EQUITYBUILD            TIKKUN                 LOAN FOR CLOSING T4
                                                                                                                                          DONATION TO RABBI KATZ 
9/19/2017                     2,500.00                                        (646,638.62) EQUITYBUILD             COHEN, JERRY           AT JEN
                                                                                                                                          WIRE TRANSFER TO TD 
9/19/2017                                                2,500.00         (649,138.62) COHEN, JERRY                EQUITYBUILD            AMERITRADE CLEARING INC
                                                                                                                                          2 POINT TRANSACTION LOAN 
9/19/2017                                              18,000.00         (667,138.62) TIKKUN                       EQUITYBUILD            FEE
                                                                                                                                          REPAY TRANSACTION LOAN 
9/19/2017                                            900,000.00            (1,567,138.62)   TIKKUN                 EQUITYBUILD            TO CLOSE T4
9/20/2017                                                8,049.25          (1,575,187.87)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
9/27/2017                                                8,049.25          (1,583,237.12)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
9/27/2017                                                1,500.00          (1,584,737.12)   COHEN, JERRY           EQUITYBUILD            OWNER DRAW
                                                                                                                                          TRANSACTION LOAN FOR 
9/27/2017                 900,000.00                                        (684,737.12)    EQUITYBUILD            TIKKUN                 BLOOMFIELD DEAL
9/28/2017                                                3,500.00         (688,237.12)      COHEN, JERRY           EQUITYBUILD            LOAN
9/29/2017                                                    639.35         (688,876.47)    COHEN, JERRY           EQUITYBUILD            PAYROLL
9/29/2017                                            900,000.00      (1,588,876.47)         TIKKUN                 EQUITYBUILD FINANCE    REPAY TRANSACTION LOAN
                                                                                                                                          1 POINT TRANSACTION LOAN 
9/29/2017                                                9,000.00      (1,597,876.47) TIKKUN                       EQUITYBUILD            FEE
10/3/2017                                                1,500.00      (1,599,376.47) COHEN, JERRY                 EQUITYBUILD            OWNER DRAW




                                                                                                         Page 11
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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
   DATE          AND TIKKUN              AND TIKKUN                         BALANCE                     PAYEE                     PAYOR             NOTES
10/4/2017                                            8,049.25              (1,607,425.72)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
10/4/2017                                                400.00            (1,607,825.72)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
10/11/2017                                               500.00            (1,608,325.72)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
10/13/2017                                               639.34            (1,608,965.06)    COHEN, JERRY         EQUITYBUILD             PAYROLL
10/16/2017                                           8,799.25              (1,617,764.31)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
10/16/2017                                           8,074.00              (1,625,838.31)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
10/23/2017                                           8,799.25              (1,634,637.56)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
10/24/2017                350,000.00                                       (1,284,637.56)    TIKKUN               EQUITYBUILD FINANCE     SHORT TERM LOAN
10/25/2017                100,000.00                                       (1,184,637.56)    TIKKUN               EQUITYBUILD FINANCE     LOAN
                                                                                                                                          REIMBURSE JEWISH 
10/26/2017                    2,500.00                                   (1,182,137.56) EQUITYBUILD               COHEN, JERRY            EDUCATION DONATION
10/27/2017                                                   639.35      (1,182,776.91) COHEN, JERRY              EQUITYBUILD             PAYROLL
                                                                                                                                          WIRE TRANSFER TO TD 
10/27/2017                                               2,500.00      (1,185,276.91) COHEN, JERRY                EQUITYBUILD             AMERITRADE CLEARING INC
10/30/2017                                               8,799.25      (1,194,076.16) COHEN, JERRY                EQUITYBUILD             OWNER DRAW
10/31/2017                                               3,500.00      (1,197,576.16) COHEN, JERRY                EQUITYBUILD             LOAN
                                                                                                                                          PARTIAL PAY OF 2 POINT 
10/31/2017                                               1,000.00      (1,198,576.16) TIKKUN                      EQUITYBUILD             LOAN FEE
                                                                                                                                          PARTIAL REPAY OF 450K 
10/31/2017                                             50,000.00      (1,248,576.16) TIKKUN                       EQUITYBUILD             LOAN BAL 400K
                                                                                                                                          REIMBURSE BENNETT LIEN 
11/2/2017                 180,000.00                                   (1,068,576.16) EQUITYBUILD                 TIKKUN                  SATISFACTION
11/2/2017                                                2,000.00      (1,070,576.16) TIKKUN                      EQUITYBUILD             2 POINT LOAN FEE
                                                                                                                                          PARTIAL REPAY LOAN BAL 
11/2/2017                                            100,000.00      (1,170,576.16) TIKKUN                        EQUITYBUILD             300K
                                                                                                                                          REVERSE TRANSFER MADE IN 
11/2/2017                                            180,000.00      (1,350,576.16) TIKKUN                        EQUITYBUILD             ERROR
11/6/2017                                                8,799.25      (1,359,375.41) COHEN, JERRY                EQUITYBUILD             OWNER DRAW
11/7/2017                                                    200.00      (1,359,575.41) TIKKUN                    EQUITYBUILD             2 POINT LOAN FEE
                                                                                                                                          PARTIAL REPAY LOAN BAL 
11/7/2017                                              10,000.00           (1,369,575.41)    TIKKUN               EQUITYBUILD             $290000
11/10/2017                                                   639.35        (1,370,214.76)    COHEN, JERRY         EQUITYBUILD             PAYROLL
11/13/2017                                               8,799.25          (1,379,014.01)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
11/15/2017                                                   200.00        (1,379,214.01)    TIKKUN               EQUITYBUILD             2 PT LOAN FEE
                                                                                                                                          PARTIAL REPAY LOAN BAL 
11/15/2017                                             10,000.00      (1,389,214.01) TIKKUN                       EQUITYBUILD             280K
11/17/2017                                                   200.00      (1,389,414.01) TIKKUN                    EQUITYBUILD             2 POINT LOAN FEE
                                                                                                                                          PARTIAL REPAY LOAN BAL 
11/17/2017                                         10,000.00      (1,399,414.01)             TIKKUN               EQUITYBUILD             280K
11/20/2017                                           8,799.25      (1,408,213.26)            COHEN, JERRY         EQUITYBUILD             OWNER DRAW
11/22/2017                520,000.00                                    (888,213.26)         TIKKUN               EQUITYBUILD FINANCE     TRANSACTION LOAN
11/24/2017                                               639.35         (888,852.61)         COHEN, JERRY         EQUITYBUILD             PAYROLL
11/27/2017                                           8,799.25         (897,651.86)           COHEN, JERRY         EQUITYBUILD             OWNER DRAW
11/27/2017                                               200.00         (897,851.86)         TIKKUN               EQUITYBUILD             2 POINT LOAN FEE
11/27/2017                                         10,000.00         (907,851.86)            TIKKUN               EQUITYBUILD             PARTIAL REPAY BAL 790000
11/28/2017                                               200.00         (908,051.86)         TIKKUN               EQUITYBUILD             2 POINT LOAN FEE
                                                                                                                                          PARTIAL REPAY TIKKUN 
11/28/2017                                             10,000.00              (918,051.86)   TIKKUN               EQUITYBUILD             TRANS LOAN BAL 780K
11/29/2017                                               3,500.00             (921,551.86)   COHEN, JERRY         EQUITYBUILD             LOAN
11/29/2017                                             15,200.00              (936,751.86)   TIKKUN               EQUITYBUILD             2 POINT LOAN FEE
11/29/2017                                                   400.00           (937,151.86)   TIKKUN               EQUITYBUILD             2 POINT LOAN FEE
11/29/2017                                           760,000.00            (1,697,151.86)    TIKKUN               EQUITYBUILD             REPAY TIKKUN TRANS LOAN
                                                                                                                                          PARTIAL REPAY TIKKUN 
11/29/2017                                             20,000.00           (1,717,151.86)    TIKKUN               EQUITYBUILD             TRANS LOAN 760K BAL
12/5/2017                                                8,799.25          (1,725,951.11)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
12/8/2017                                                    639.35        (1,726,590.46)    COHEN, JERRY         EQUITYBUILD             PAYROLL
12/11/2017                                               8,799.25          (1,735,389.71)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
12/11/2017                                               2,500.00          (1,737,889.71)    COHEN, JERRY         EQUITYBUILD             OWNER DRAW
12/13/2017                955,000.00                                          (782,889.71)   EQUITYBUILD          TIKKUN
                                                                                                                                          1 POINT TRANSACTIONLOAN 
12/13/2017                                               9,550.00         (792,439.71) TIKKUN                     EQUITYBUILD             FEE
12/13/2017                                           955,000.00      (1,747,439.71) TIKKUN                        EQUITYBUILD FINANCE     REPAY TRANSACTION LOAN
                                                                                                                                          REIMBURSE FOR LOAN TO 
12/14/2017                    3,900.00                               (1,743,539.71)          EQUITYBUILD          TIKKUN                  NEWKIRK
12/15/2017                                               500.00      (1,744,039.71)          COHEN, JERRY         EQUITYBUILD             OWNER DRAW
12/18/2017                                           8,799.25      (1,752,838.96)            COHEN, JERRY         EQUITYBUILD             OWNER DRAW
12/20/2017                200,000.00                                 (1,552,838.96)          EQUITYBUILD          TIKKUN                  TRANSACTION LOAN
                                                                                                                                          1 POINT TRANSACTIONLOAN 
12/20/2017                                               2,000.00      (1,554,838.96) TIKKUN                      EQUITYBUILD             FEE
12/20/2017                                           200,000.00      (1,754,838.96) TIKKUN                        EQUITYBUILD             REPAY TRANSACTION LOAN




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             PAYMENTS FROM  PAYMENTS TO 
              JEROME COHEN  JEROME COHEN 
   DATE         AND TIKKUN      AND TIKKUN                   BALANCE                  PAYEE                                           PAYOR             NOTES
12/22/2017                                      639.35      (1,755,478.31) COHEN, JERRY                                EQUITYBUILD            PAYROLL
12/22/2017                                  8,799.25      (1,764,277.56) COHEN, JERRY                                  EQUITYBUILD            OWNER DRAW
                                                                                                                                              TRANSACTIONLOAN FROM 
12/22/2017                 300,000.00                                       (1,464,277.56) EQUITYBUILD                 TIKKUN                 TIKKUN
12/28/2017                                                    3,500.00      (1,467,777.56) COHEN, JERRY                EQUITYBUILD            LOAN
                                                                                                                                              REIMBURSE FOR LOAN TO 
12/28/2017                        930.00                                    (1,466,847.56) EQUITYBUILD                 TIKKUN                 NEWKIRK
12/29/2017                                                    8,799.25      (1,475,646.81) COHEN, JERRY                EQUITYBUILD            OWNER DRAW
                                                                                                                                              TRANSACTION LOAN FROM 
12/29/2017                 125,000.00                                           (1,350,646.81) TIKKUN                  EQUITYBUILD FINANCE    TIKKUN
                                                                                                                                              TRANSACTION LOAN FROM 
12/29/2017                   22,500.00                                        (1,328,146.81) TIKKUN                    EQUITYBUILD FINANCE    TIKKUN
 1/2/2018                                                         200.00      (1,328,346.81) TIKKUN                    EQUITYBUILD            2 POINT TRANSACTION FEE
                                                                                                                                              PARTIAL REPAY TIKKUN BAL 
 1/2/2018                                                   10,000.00      (1,338,346.81) TIKKUN                       EQUITYBUILD            437500
                                                                                                                                              REIMBURSE FOR LOAN TO 
 1/4/2018                      2,100.00                                (1,336,246.81)            EQUITYBUILD           TIKKUN                 NEWKIRK
 1/5/2018                                                  639.35      (1,336,886.16)            COHEN, JERRY          EQUITYBUILD            PAYROLL
 1/5/2018                    10,000.00                                 (1,326,886.16)            EQUITYBUILD           TIKKUN                 TRANS LOAN FROM TIKKUN
 1/8/2018                                              8,799.25      (1,335,685.41)              COHEN, JERRY          EQUITYBUILD            OWNER DRAW
                                                                                                                                              TRANSACTION LOAN FROM 
 1/9/2018                    65,000.00                                          (1,270,685.41) EQUITYBUILD             TIKKUN                 TIKKUN
                                                                                                                                              PARTIAL REPAY 
                                                                                                                                              TRANSACTION LOAN BAL 
1/11/2018                                                   10,000.00      (1,280,685.41) TIKKUN                       EQUITYBUILD            502500
1/12/2018                                                     8,799.25      (1,289,484.66) COHEN, JERRY                EQUITYBUILD            OWNER DRAW
1/17/2018                                                         400.00      (1,289,884.66) TIKKUN                    EQUITYBUILD            TRANSACTION LOAN FEE
                                                                                                                                              PARTIAL REPAY TIKKUN LOAN 
1/17/2018                                                   10,000.00           (1,299,884.66)   TIKKUN                EQUITYBUILD            BAL 492500
1/19/2018                                                         639.34        (1,300,524.00)   COHEN, JERRY          EQUITYBUILD            PAYROLL
1/22/2018                                                     8,799.25          (1,309,323.25)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
1/23/2018                                                     9,850.00          (1,319,173.25)   TIKKUN                EQUITYBUILD            2 POINT TRANSACTION FEE
1/23/2018                                                 492,500.00            (1,811,673.25)   TIKKUN                EQUITYBUILD            REPAY TRANSACTION LOAN
1/29/2018                                                     7,600.00          (1,819,273.25)   COHEN, JERRY          EQUITYBUILD
1/29/2018                                                     8,799.25          (1,828,072.50)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
1/31/2018                                                     3,500.00          (1,831,572.50)   COHEN, JERRY          EQUITYBUILD            LOAN
2/2/2018                                                          639.35        (1,832,211.85)   COHEN, JERRY          EQUITYBUILD            PAYROLL
2/5/2018                                                      7,600.00          (1,839,811.85)   COHEN, JERRY          EQUITYBUILD
2/5/2018                                                      8,799.25          (1,848,611.10)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
                                                                                                                                              TRANSACTION LOAN TO 
 2/6/2018                  600,000.00                                           (1,248,611.10) EQUITYBUILD             TIKKUN                 CLOSE MERRILL AND CORN
                                                                                                                                              PARTIAL REPAY 
2/6/2018                                                  100,000.00            (1,348,611.10)   TIKKUN                EQUITYBUILD            TRANSACTION LOAN
2/9/2018                                                      5,631.50          (1,354,242.60)   COHEN, JERRY          EQUITYBUILD
2/12/2018                                                     8,799.25          (1,363,041.85)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
2/13/2018                                                         200.00        (1,363,241.85)   TIKKUN                EQUITYBUILD            TRANSACTION LOAN FEE
                                                                                                                                              PARTIAL REPAY TRANS LOAN 
2/13/2018                                                   10,000.00      (1,373,241.85) TIKKUN                       EQUITYBUILD            BAL 490000
2/14/2018                                                     1,000.00      (1,374,241.85) TIKKUN                      EQUITYBUILD            TRANSACTION LOAN FEE
                                                                                                                                              PARTIAL REPAY 
                                                                                                                                              TRANSACTION LOAN BAL 
2/14/2018                                                   50,000.00           (1,424,241.85)   TIKKUN                EQUITYBUILD            440000
2/16/2018                                                         639.36        (1,424,881.21)   COHEN, JERRY          EQUITYBUILD            PAYROLL
2/16/2018                                                     8,799.25          (1,433,680.46)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
2/26/2018                                                     7,600.00          (1,441,280.46)   COHEN, JERRY          EQUITYBUILD
2/26/2018                                                     8,799.25          (1,450,079.71)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
                                                                                                                                              TRANS LOAN 35005 BAL 
2/26/2018                              5.00                                     (1,450,074.71) EQUITYBUILD             TIKKUN                 475005
2/26/2018                    35,000.00                                          (1,415,074.71) EQUITYBUILD             TIKKUN
                                                                                                                                              TRANS LOAN BACK DUE 
2/27/2018                    10,000.00                                      (1,405,074.71) EQUITYBUILD                 TIKKUN                 485005
2/28/2018                                                     3,500.00      (1,408,574.71) COHEN, JERRY                EQUITYBUILD            LOAN
                                                                                                                                              TRANS LOAN BAL DUE 
3/1/2018                     20,000.00                                          (1,388,574.71)   TIKKUN                EQUITYBUILD FINANCE    665010
3/1/2018                   160,000.00                                           (1,228,574.71)   TIKKUN                EQUITYBUILD FINANCE    TRANS LOAN BAL 645005
3/1/2018                               5.00                                     (1,228,569.71)   EQUITYBUILD           TIKKUN                 TRANS LOAN BAL 645010
3/2/2018                                                          639.34        (1,229,209.05)   COHEN, JERRY          EQUITYBUILD            PAYROLL
3/5/2018                                                      8,799.25          (1,238,008.30)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
3/12/2018                                                     8,799.25          (1,246,807.55)   COHEN, JERRY          EQUITYBUILD            OWNER DRAW
3/15/2018                                                     5,000.00          (1,251,807.55)   COHEN, JERRY          EQUITYBUILD            REPAY LOAN TO SHAUN




                                                                                                             Page 13
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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE         AND TIKKUN      AND TIKKUN                 BALANCE                                     PAYEE                    PAYOR             NOTES
3/15/2018                                  1,500.00      (1,253,307.55) TIKKUN                                  EQUITYBUILD            TRANSACTION LOAN FEE
                                                                                                                                       REPAY TRANS LOAN BAL 
3/15/2018                                             75,000.00           (1,328,307.55)   TIKKUN               EQUITYBUILD            590010
3/16/2018                                                   639.35        (1,328,946.90)   COHEN, JERRY         EQUITYBUILD            PAYROLL
3/19/2018                                               8,799.25          (1,337,746.15)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
3/26/2018                                               8,799.25          (1,346,545.40)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
3/26/2018                                               1,000.00          (1,347,545.40)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
3/29/2018                                               3,500.00          (1,351,045.40)   COHEN, JERRY         EQUITYBUILD            LOAN
3/30/2018                                                   639.35        (1,351,684.75)   COHEN, JERRY         EQUITYBUILD            PAYROLL
                                                                                                                                       REPAY TRANS LOAN 
3/30/2018                                           590,010.00      (1,941,694.75) TIKKUN                       EQUITYBUILD            PRINCIPAL
4/2/2018                                                8,799.25      (1,950,494.00) COHEN, JERRY               EQUITYBUILD            OWNER DRAW
                                                                                                                                       REIMBURSE WEB SITE 
4/3/2018                                                    592.88        (1,951,086.88)   TIKKUN               EQUITYBUILD            REGISTRATIONS
4/9/2018                                                8,799.25          (1,959,886.13)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
4/13/2018                                                   639.34        (1,960,525.47)   COHEN, JERRY         EQUITYBUILD            PAYROLL
4/16/2018                                               8,799.25          (1,969,324.72)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
4/19/2018                                               2,196.24          (1,971,520.96)   COHEN, JERRY         EQUITYBUILD            REIMBURSE TRAVEL
4/23/2018                                               8,799.25          (1,980,320.21)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
                                                                                                                                       TRANSACTION LOAN LIBERTY 
4/26/2018                 920,000.00                                      (1,060,320.21)   EQUITYBUILD          TIKKUN                 CLOSING
4/27/2018                                                   639.35        (1,060,959.56)   COHEN, JERRY         EQUITYBUILD            PAYROLL
4/30/2018                                               8,799.25          (1,069,758.81)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
4/30/2018                                               3,500.00          (1,073,258.81)   COHEN, JERRY         EQUITYBUILD            LOAN
5/7/2018                                                8,799.25          (1,082,058.06)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
5/7/2018                                              18,400.00           (1,100,458.06)   TIKKUN               EQUITYBUILD            TRANSACTION LOAN FEE
                                                                                                                                       REPAY LIBERTY REFI 
5/7/2018                                            920,000.00      (2,020,458.06) TIKKUN                       EQUITYBUILD            TRANSACTION LOAN
                                                                                                                                       TRANSACTION FEE PREVIOUS 
5/7/2018                                              11,800.20           (2,032,258.26)   TIKKUN               EQUITYBUILD            LOAN
5/11/2018                                                   639.36        (2,032,897.62)   COHEN, JERRY         EQUITYBUILD            PAYROLL
5/14/2018                                               8,799.25          (2,041,696.87)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
5/21/2018                                               8,799.25          (2,050,496.12)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
5/25/2018                                                   639.34        (2,051,135.46)   COHEN, JERRY         EQUITYBUILD            PAYROLL
5/25/2018                                               8,799.25          (2,059,934.71)   COHEN, JERRY         EQUITYBUILD            OWNER DRAW
5/25/2018                   20,000.00                                     (2,039,934.71)   TIKKUN               EQUITYBUILD FINANCE    CHECKING PAID IN ERROR
                                                                                                                                       SUPPLEMENTAL 
                                                                                                                                       TRANSACTIONLOAN 2 POINT 
5/25/2018                                             20,000.00      (2,059,934.71) TIKKUN                      EQUITYBUILD FINANCE    FEE
5/25/2018                 350,000.00                                 (1,709,934.71) EQUITYBUILD                 TIKKUN
                                                                                                                                       SUPPLEMENTAL 
                                                                                                                                       TRANSACTION LOAN 2 POINT 
5/25/2018                   20,000.00                                 (1,689,934.71)       EQUITYBUILD          TIKKUN                 FEE
5/29/2018                                                 400.00      (1,690,334.71)       TIKKUN               EQUITYBUILD            TRANSACTION FEE
5/29/2018                                           20,000.00      (1,710,334.71)          TIKKUN               EQUITYBUILD            PARTIAL REPAY BAL 350000
5/30/2018                                             3,500.00      (1,713,834.71)         COHEN, JERRY         EQUITYBUILD            LOAN
5/30/2018                   45,000.00                                 (1,668,834.71)       EQUITYBUILD          TIKKUN                 TRANS LOAN BAL DUE 395K
6/4/2018                                              8,799.25      (1,677,633.96)         COHEN, JERRY         EQUITYBUILD            OWNER DRAW
                                                                                                                                       PARTIAL REPAY TRANS LOAN 
6/4/2018                                              10,000.00      (1,687,633.96) TIKKUN                      EQUITYBUILD            BAL 385K
6/4/2018                                                    200.00      (1,687,833.96) TIKKUN                   EQUITYBUILD            TRANS LOAN FEE
6/5/2018                                              10,000.00      (1,697,833.96) TIKKUN                      EQUITYBUILD            PARTIAL PAY BAL DUE 375K




6/5/2018                                                  200.00      (1,698,033.96)       TIKKUN               EQUITYBUILD            TRANSACTION LOAN FEE
6/7/2018                                              2,742.71      (1,700,776.67)         TIKKUN               EQUITYBUILD            PAYROLL
6/8/2018                                                  639.35      (1,701,416.02)       COHEN, JERRY         EQUITYBUILD            PAYROLL
6/8/2018                    50,000.00                                 (1,651,416.02)       EQUITYBUILD          TIKKUN                 LOAN
                                                                                                                                       TRANSACTION LOAN BAL DUE 
6/8/2018                    25,000.00                                 (1,626,416.02) EQUITYBUILD                TIKKUN                 450000
6/11/2018                                               8,799.25      (1,635,215.27) COHEN, JERRY               EQUITYBUILD            OWNER DRAW
                                                                                                                                       PARTIAL REPAY TRANS LOAN 
6/15/2018                                             20,000.00      (1,655,215.27) TIKKUN                      EQUITYBUILD            BAL 430000
                                                                                                                                       2 POINT LOAN FEE ON 
6/15/2018                                                   400.00      (1,655,615.27) TIKKUN                   EQUITYBUILD            PARTIAL REPAY
6/18/2018                                               8,799.25      (1,664,414.52) COHEN, JERRY               EQUITYBUILD            OWNER DRAW
                                                                                                                                       ZERFOSS LOAN REPAYMENT 
6/18/2018                                                   400.00      (1,664,814.52) TIKKUN                   EQUITYBUILD            IN FULL




                                                                                                      Page 14
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            PAYMENTS FROM  PAYMENTS TO 
             JEROME COHEN  JEROME COHEN 
  DATE         AND TIKKUN    AND TIKKUN                                   BALANCE                       PAYEE                           PAYOR             NOTES
                                                                                                                                                PARTIAL REPAY TRANS LOAN 
6/18/2018                                               20,000.00           (1,684,814.52)   TIKKUN                      EQUITYBUILD            BAL 410K
6/22/2018                                                     639.35        (1,685,453.87)   COHEN, JERRY                EQUITYBUILD            PAYROLL
6/25/2018                                                 8,799.25          (1,694,253.12)   COHEN, JERRY                EQUITYBUILD            OWNER DRAW
6/25/2018                                                 3,500.00          (1,697,753.12)   COHEN, JERRY                EQUITYBUILD            LOAN
                                                                                                                                                REPAY TRANS LOAN TO 
6/26/2018                                             100,000.00      (1,797,753.12) TIKKUN                              EQUITYBUILD            CLOSE AVERS AND 2 MORE
                                                                                                                                                TRANSACTION LOAN TO 
6/26/2018                 100,000.00                                (1,697,753.12)           EQUITYBUILD                 TIKKUN                 CLOSE AVERS AND 2 MORE
6/29/2018                                             8,799.25      (1,706,552.37)           COHEN, JERRY                EQUITYBUILD            OWNER DRAW
6/29/2018                   15,000.00                               (1,691,552.37)           EQUITYBUILD                 TIKKUN
6/29/2018                   25,000.00                               (1,666,552.37)           EQUITYBUILD                 TIKKUN
6/29/2018                   25,000.00                               (1,641,552.37)           EQUITYBUILD                 TIKKUN
                                                                                             EQUITYBUILD ‐ SOUTH SIDE                           TRANSFER TO SOUTH SIDE 
7/2/2018                         800.00                                   (1,640,752.37)     DEVELOPMENT FUND 4 LLC      TIKKUN                 DEVELOPMENT FUND 4 LLC
7/3/2018                    60,000.00                                     (1,580,752.37)     EQUITYBUILD                 TIKKUN
7/6/2018                                                      639.34      (1,581,391.71)     COHEN, JERRY                EQUITYBUILD            PAYROLL
7/9/2018                                                  8,799.25      (1,590,190.96)       COHEN, JERRY                EQUITYBUILD            OWNER DRAW
                                                                                                                                                TRANS LOAN EZRI PRINCIPLE 
7/11/2018                 100,000.00                                  (1,490,190.96)         EQUITYBUILD                 TIKKUN                 BAL DUE 635K
7/16/2018                                             8,799.25      (1,498,990.21)           COHEN, JERRY                EQUITYBUILD            OWNER DRAW
7/19/2018                   10,000.00                                 (1,488,990.21)         EQUITYBUILD                 TIKKUN                 TRANS LOAN BAL 645000
7/20/2018                                                 639.35      (1,489,629.56)         COHEN, JERRY                EQUITYBUILD            PAYROLL
7/20/2018                                           10,000.00      (1,499,629.56)            TIKKUN                      EQUITYBUILD            PART REPAY BAL 635000
7/20/2018                                                 200.00      (1,499,829.56)         TIKKUN                      EQUITYBUILD FINANCE    LOAN FEE
7/23/2018                                             8,799.25      (1,508,628.81)           COHEN, JERRY                EQUITYBUILD            OWNER DRAW
7/25/2018                                           10,000.00      (1,518,628.81)            TIKKUN                      EQUITYBUILD FINANCE
7/25/2018                   10,000.00                                 (1,508,628.81)         EQUITYBUILD FINANCE         TIKKUN
7/25/2018                   10,000.00                                 (1,498,628.81)         EQUITYBUILD FINANCE         TIKKUN                 TRANS LOAN BAL 645000
                                                                                                                                                TRANS LOAN BAL DUE 
7/26/2018                     5,000.00                                      (1,493,628.81) EQUITYBUILD                   TIKKUN                 650000
                                                                                                                                                TRANS LOAN BAL DUE 
7/26/2018                   20,000.00                                       (1,473,628.81) EQUITYBUILD                   TIKKUN                 670000
                                                                                                                                                TRANS LOAN BAL DUE 
7/27/2018                     5,000.00                                      (1,468,628.81) EQUITYBUILD                   TIKKUN                 675000
                                                                                                                                                TRANS LOAN BAL DUE 
7/30/2018                     7,500.00                                      (1,461,128.81) EQUITYBUILD                   TIKKUN                 682500
                                                                                                                                                TRANS LOAN BAL DUE 
7/30/2018                     5,000.00                                    (1,456,128.81)     EQUITYBUILD                 TIKKUN                 687500
7/31/2018                                                 3,500.00      (1,459,628.81)       COHEN, JERRY                EQUITYBUILD            LOAN
7/31/2018                                                 8,799.25      (1,468,428.06)       COHEN, JERRY                EQUITYBUILD            OWNER DRAW
7/31/2018                                                     850.79      (1,469,278.85)     TIKKUN                      EQUITYBUILD            REPAY FOR TEXT CAMPAIGN
                                                                                                                                                PARTIAL REPAY TRANS LOAN 
7/31/2018                                               17,500.00      (1,486,778.85) TIKKUN                             EQUITYBUILD            BAL 670000
7/31/2018                                                     350.00      (1,487,128.85) TIKKUN                          EQUITYBUILD            TRANS LOAN FEE
8/3/2018                                                      639.35      (1,487,768.20) COHEN, JERRY                    EQUITYBUILD            PAYROLL

8/8/2018                                                  1,079.79      (1,488,847.99)       TIKKUN                      EQUITYBUILD            REIMBURSE TEXT CAMPAIGN
8/10/2018                   50,000.00                                   (1,438,847.99)       EQUITYBUILD FINANCE         TIKKUN                 TRANSACTION LOAN
8/13/2018                                                 8,799.25      (1,447,647.24)       COHEN, JERRY                EQUITYBUILD            OWNER DRAW
8/13/2018                                               50,000.00      (1,497,647.24)        TIKKUN                      EQUITYBUILD            REPAY 81018 TRANS LOAN
8/13/2018                                                 1,000.00      (1,498,647.24)       TIKKUN                      EQUITYBUILD            TRANS LOAN FEE
8/14/2018                                                 3,057.40      (1,501,704.64)       TIKKUN                      EQUITYBUILD            PAYPAL TRANSFER 180814
8/14/2018                                                 5,000.00      (1,506,704.64)       TIKKUN                      EQUITYBUILD            LOAN
                                                                                                                                                TRANSACTION LOAN BAL DUE 
8/14/2018                     5,000.00                     (1,501,704.64) EQUITYBUILD                                    TIKKUN                 425000
8/14/2018                     5,000.00                     (1,496,704.64) EQUITYBUILD                                    TIKKUN                 TRANS LOAN FEE
                    10,951,584.42       12,448,289.06




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                                         PREJUDGMENT INTEREST CALCULATION
                                                  Jerome Cohen
                                                              Case No.: 18-CV-5587

                                                       [1]               [2]                  [3]                    [4]            [5]
                                                   ANNUAL            PERIOD                 PERIOD                  PERIOD
      PERIOD                                        RATE              RATE                INTEREST                 AMOUNT          TOTAL

         08/15/13         to      09/30/13            3%               0.75%         $                 -       $        47,803 $       47,803
         10/01/13         to      12/31/13            3%               0.75%                         359                75,888        124,049
         01/01/14         to      03/31/14            3%               0.75%                         930                88,474        213,453
         04/01/14         to      06/30/14            3%               0.75%                       1,601                74,462        289,516
         07/01/14         to      09/30/14            3%               0.75%                       2,171               106,802        398,489
         10/01/14         to      12/31/14            3%               0.75%                       2,989                27,877        429,354
         01/01/15         to      03/31/15            3%               0.75%                       3,220               (74,121)       358,454
         04/01/15         to      06/30/15            3%               0.75%                       2,688               241,748        602,890
         07/01/15         to      09/30/15            3%               0.75%                       4,522               100,866        708,278
         10/01/15         to      12/31/15            3%               0.75%                       5,312               197,054        910,644
         01/01/16         to      03/31/16            3%               0.75%                       6,830               135,231      1,052,705
         04/01/16         to      06/30/16            4%               1.00%                      10,527               240,583      1,303,815
         07/01/16         to      09/30/16            4%               1.00%                      13,038               193,094      1,509,948
         10/01/16         to      12/31/16            4%               1.00%                      15,099               193,761      1,718,808
         01/01/17         to      03/31/17            4%               1.00%                      17,188               174,051      1,910,048
         04/01/17         to      06/30/17            4%               1.00%                      19,100               (43,163)     1,885,985
         07/01/17         to      09/30/17            4%               1.00%                      18,860              (182,533)     1,722,312
         10/01/17         to      12/31/17            4%               1.00%                      17,223              (269,730)     1,469,805
         01/01/18         to      03/31/18            4%               1.00%                      14,698               613,548      2,098,051
         04/01/18         to      06/30/18            5%               1.25%                      26,226              (300,142)     1,824,134
         07/01/18         to      08/15/18            5%               0.63%                      11,401              (144,848)     1,690,687
                                                                                     $           193,983       $     1,496,705




                                  DISGORGEMENT SUMMARY
      TOTAL DISGORGEMENT AMOUNT                                                       $      1,496,705
      TOTAL INTEREST                                                                           193,983
                                                                                      $      1,690,687



NOTES

[1]   Interest rates for underpayments published quarterly by the Internal Revenue Service in accordance with Section 6621.
[2]   Interest rate to be used in the calculation. For example, the rate for the period ending December 31, 2013, is 3% divided by 4.
[3]   The interest amount calculated for the period which equals the preceding period total multiplied by the period interest rate.
[4]   Total disgorgement amount for period is sum of payments received by Jerry Cohen and Tikkun from Equitybuild and Equitybuild Finance.
[5] Total is the preceding period total plus the interest calculated for the period, plus the period amount.
